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                          Exhibit A
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  1            IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF TENNESSEE
  2                       WESTERN DIVISION
                             -    -      -
  3
               MOON FENTON, M.D.,            :   Case No.:   2:21-cv-02790-SHL-tpm
  4                                          :
                           Plaintiff, :
  5                                          :
                   v.                        :
  6                                          :
               THE WEST CLINIC, PLLC,:
  7            f/k/a THE WEST CLINIC,:
               PC, d/b/a WEST CANCER :
  8            CENTER, et al,                :
                                             :
  9                        Defendants.:
 10
                             -    -      -
 11
                          November 7, 2022
 12
                             -    -      -
 13
 14                       Videotaped deposition of MOON
 15                 FENTON, M.D., taken pursuant to
 16                 Notice, held via Zoom, beginning at
 17                 approximately 10:05 a.m., before
 18                 Mary Hammond, a Registered
 19                 Professional Reporter and Notary
 20                 Public in the state of
 21                 Pennsylvania.
 22                          -    -      -
 23
 24

                                                                         Page 1

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  1             A-P-P-E-A-R-A-N-C-E-S
  2
                   BURKHALTER LAW FIRM, PC
  3                BY:    DAVID A. BURKHALTER, II, ESQUIRE
                   111 S. Central Street
  4                P.O. Box 2777
                   Knoxville, Tennessee          37901
  5                david@burkhalterlaw.com
                   Counsel for Plaintiff
  6
  7                BLACK, McLAREN, JONES, RYLAND & GRIFFEE, PC
                   BY:    MICHAEL McLAREN, ESQUIRE
  8                530 Oak Court Drive
                   Suite 360
  9                Memphis, Tennessee         38117
                   mmclaren@blackmclaw.com
 10                Counsel for Defendant
 11
 12                Also Present:       Amy Worrell
                                       Brenna Slalski
 13                                    Russ Strain, Videographer
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24

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  1                              -      -      -
  2                              I-N-D-E-X
  3                              -      -      -
  4             WITNESS:
  5             MOON FENTON, M.D.
  6                                            PAGE
  7             BY MR. McLAREN                     8
  8             BY MR. BURKHALTER                  --
  9
 10
 11                              -      -      -
 12                          E-X-H-I-B-I-T-S
 13                              -      -      -
 14               NAME                      DESCRIPTION                     PAGE
 15             Exhibit 1       Notice of Deposition                         11
 16             Exhibit 2       Complaint                                    11
 17             Exhibit 3       Complaint, Bates Number                      73
                                WEST012498 through WEST012517
 18
                Exhibit 4       West Clinic Shareholders                     108
 19                             Meeting Minutes, Bates Number
                                WEST004292 through WEST007162
 20
                Exhibit 5       Termination of Employment                    292
 21                             Agreement, Bates Number
                                FENTON000002
 22
                Exhibit 6       Physician Employment Agreement               292
 23                             Bates Number FENTON000051
                                through FENTON000073
 24

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  1                            -   -    -
  2                E-X-H-I-B-I-T-S - (Continued)
  3                          -   -    -
  4               NAME             DESCRIPTION                              PAGE
  5             Exhibit 7   Termination of Shareholders'                    292
                            Agreement
  6
                Exhibit 8       (Not marked)                                292
  7
                Exhibit 9       Email Dated 7/21/20, Bates                  292
  8                             Number WEST002422 through
                                WEST002423
  9
                Exhibit 10      Plaintiff's Answers to                      292
 10                             Defendant's First Set of
                                Interrogatories
 11
                Exhibit 11      Email Dated 7/17/14, Bates                  292
 12                             Number WEST012372
 13             Exhibit 12      Email Dated 6/23/14, Bates                  292
                                WEST000182 through
 14                             WEST000189
 15             Exhibit 13      (Not marked)                                293
 16             Exhibit 14      Screenshot Dated 5/16/22,                   293
                                Bates Number FENTON000020
 17                             through FENTON000049
 18             Exhibit 15      (Not marked)                                293
 19             Exhibit 16      Letter Dated 4/24/20, Bates                 293
                                Number FENTON000001
 20
                Exhibit 17      (Not marked)                                293
 21
                Exhibit 18      Pay Statement Dated 6/3/22,                 293
 22                             Bates Number WEST000038
                                through WEST000044
 23
                Exhibit 19      1040 Tax Form, Bates Number       293
 24                             FENTON000247 through FENTON000450

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  1                                  -     -      -
  2                         P-R-O-C-E-E-D-I-N-G-S
  3                                  -     -      -
  4                             (By agreement of counsel, the
  5                      sealing, certification and filing
  6                      are waived, and all objections as
  7                      to the form of the question, are
  8                      reserved until the time of trial.)
  9                                  -     -      -
 10                             THE COURT REPORTER:             The
 11                      attorneys participating in this
 12                      deposition acknowledge that I am no
 13                      physically present in the
 14                      deposition room, and that I will be
 15                      reporting this deposition remotely.
 16                             They further acknowledge that,
 17                      in lieu of an oath administered in
 18                      person, I will administer the oath
 19                      remotely.
 20                             The parties further agree that
 21                      if the witness is testifying from a
 22                      state where I am not a notary, that
 23                      the witness may be sworn in by an
 24                      out-of-state notary.



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  1                             If any party has an objection
  2                      to this manner of reporting, please
  3                      state it now.
  4                             Hearing none, we may proceed.
  5                                  -      -      -
  6                             THE VIDEOGRAPHER:             We are
  7                      going on -- we are going on the
  8                      record.         Please stand by.
  9                             Good morning.           We are now on
 10                      the record.            The time is
 11                      approximately 10:05 a.m., Monday,
 12                      November 7, 2022.
 13                             Audio and video recording will
 14                      continue to take place, unless all
 15                      parties agree to go off the record.
 16                             This is Media Unit 1 of the
 17                      video-recorded deposition of
 18                      Dr. Moon Fenton, M.D. taken by
 19                      counsel for the Defendant in the
 20                      matter of Moon Fenton, M.D. versus
 21                      The West Clinic, PLLC, et al, filed
 22                      in the US District Court for the
 23                      Western District of Tennessee,
 24                      Western Division, Case Number



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  1              Q.      Always from the time just before
  2      you became a shareholder until the time you
  3      left.        That's going to be my timeframe on
  4      every question.
  5              A.      Okay.
  6                      So from 2015 until 2020, and --
  7      sorry, can you repeat the question that
  8      you're asking?
  9              Q.      Sure.
 10                      Do you have any letters other
 11      than -- other than your 2014 letter of
 12      resignation and -- and your letter to
 13      terminating your shareholder status?
 14              A.      There was a letter that I sent to
 15      Dr. Tauer and Dr. Schwartzberg in 2014 but
 16      not since 2015 to 2020.
 17              Q.      Okay.     Okay.
 18                      In this lawsuit, I believe your
 19      position is that you had a cap or a limit on
 20      the -- what you call a buy-in of 500,000, and
 21      then once you reached that cap you would be
 22      fully vested, correct, is that your
 23      allegation?
 24              A.      No, that's not correct.               My



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  1      allegation is that -- that we agreed on a
  2      buy-in of $500,000, which would be deducted
  3      from my bonuses over a five-year period,
  4      starting with the year one of becoming a
  5      shareholder, and that -- that I would have
  6      that money back, and -- it would be a total
  7      of $500,000, and that I would be treated
  8      equally, like the other shareholders in
  9      voting powers, as well as compensation,
 10      model, and bonuses.
 11              Q.      Okay.
 12                      Do you have anything in writing
 13      from anybody at West that supports that
 14      proposition?
 15              A.      No, I do not have anything in
 16      writing, but it's not because of my lack of
 17      request of -- of that in writing.                     I have
 18      asked for that multiple times.                   I was never
 19      given that in writing.
 20                      That was an oral contract that
 21      Erich Mounce and I had when I started working
 22      at West, when I came down to interview at
 23      West, rather, which was confirmed by
 24      Lee Schwartzberg, and was made referenced to



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   1      prior to me becoming a shareholder.
   2              Q.     Okay.
   3                     But you have nothing in writing to
   4      support that, correct?
   5              A.     Correct, because I was never given
   6      one, despite my asking multiple times.
   7              Q.     You don't have any write --
   8      anything in writing from you to West saying,
   9      for instance, "This will confirm that I'm
 10       going to buy in at $500,000, and then it's
 11       going to be refunded to me."
 12                      You never put that down in writing
 13       anywhere before this Complaint, did you?
 14               A.     Not in those words, but I did ask
 15       for documentations or contracts or agreements
 16       that would support our oral contract.
 17               Q.     My question is a little bit more
 18       pointed.
 19                      You never wrote down those terms in
 20       any way, shape, or form, either for your own
 21       benefit, or to send to West, correct?
 22               A.     Not in those exact words that you
 23       said, but in reference to our oral contract I
 24       have referred to that, and -- and Erich and



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   1                             I -- I did not say that I -- I
   2                     wrote down $500,000 in the words
   3                     that you described, Mr. McLaren.
   4                             What I said was that, that was
   5                     an -- it was assumed amongst us
   6                     because we -- when we were talking
   7                     to each other, that was an oral
   8                     contract and they knew that.
   9                             So when I referred to buy-in,
 10                      that was in reference to what the
 11                      contract that I had with
 12                      Erich Mounce and Lee Schwartzberg.
 13       BY MR. McLAREN:
 14               Q.     Okay.
 15                      I just want to know if you ever
 16       wrote West and included the -- the figure,
 17       $500,000, until we got involved in this
 18       lawsuit.
 19               A.     No, there was nothing in writing
 20       that I wrote specifically saying "$500,000
 21       buy-in" in writing, but in -- in
 22       communication, the oral communications, you
 23       know, that -- that $500,000 was discussed
 24       multiple times.



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   1                     Doctor, my question before the
   2      technical glitches was:               Tell me all part of
   3      this oral contract.
   4              A.     Okay.      So I was told that there
   5      would be a $500,000 buy-in to a valuable
   6      company, which will be taken out of my bonus
   7      over a five-year period, and that I would
   8      have that money back when I left the company.
   9                     And that -- the other important
 10       part was that we would -- I would be treated
 11       same and equally, like the other shareholders
 12       in my compensation and in my voting powers.
 13               Q.     Okay.
 14                      And none of this was in writing.
 15                      It was all oral, right?
 16               A.     It was, correct.
 17               Q.     And it was through an oral contract
 18       for a five-year term, correct?
 19               A.     Because they did not produce me
 20       with a written contract because -- even
 21       though I asked multiple times, so, correct.
 22               Q.     That's correct.           It was an oral
 23       contract to cover five years, right?
 24               A.     It was an oral contract that --



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   1                             MR. McLAREN:           Okay.     We're
   2                     frozen again.
   3                             THE VIDEOGRAPHER:              Off the
   4                     record at 11:14.
   5                                 -     -      -
   6                             (Whereupon, there was a brief
   7                     recess held off the video record.)
   8                                 -     -      -
   9                             THE VIDEOGRAPHER:              One
 10                      moment -- moment.              We'll go back
 11                      on.
 12                              Back on the record at
 13                      a.m.
 14                                  -     -      -
 15                              (Back on the video record.)
 16                                  -     -      -
 17       BY MR. McLAREN:
 18               Q.     Okay.
 19                      Doctor, can you hear me?
 20               A.     Yes, I can.
 21               Q.     Okay.
 22                      So I want to make sure I've all of
 23       this correct, and I'll restate what I believe
 24       you told me.



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   1                     That to become a shareholder
   2      employee of West, you would pay a $500,000
   3      buy-in to a valuable company over five years,
   4      and you would be treated the same or equally
   5      as the other shareholders with respect to
   6      bonus and salary calculations; I am right
   7      about that?
   8              A.     Compensation model.
   9              Q.     Compensation model, okay.
 10               A.     Yes.
 11               Q.     Am I right about that?
 12               A.     Yes.     And that I would get a
 13       $500,000 buy-out.
 14               Q.     And you would get your $500,000
 15       back?
 16               A.     Yes.
 17               Q.     And this was an oral contract that
 18       would take a few years to -- well, five years
 19       to complete, correct?
 20               A.     It would begin, right, when I
 21       became a shareholder and end when that
 22       $500,000 was reached.
 23               Q.     Okay.
 24                      But it -- what was your five



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   1      years -- it was going to be a buy-in over a
   2      five-year period, right?
   3              A.     That's -- that would be the
   4      timeframe when they would take the buy-in out
   5      from my bonuses.
   6              Q.     Okay.
   7                     So it was going to be performed
   8      over a five-year period, correct?
   9              A.     Correct.
 10               Q.     Okay.
 11                      And there's nothing in writing that
 12       outlines those terms, correct?
 13               A.     Correct.
 14               Q.     Okay.
 15               A.     Despite my asking.
 16               Q.     I'll keep saying what I say, and
 17       you keep saying what you say.
 18                      Okay.      All right.
 19                      Now, look at Paragraph 25.
 20               A.     (Witness complies.)
 21                      Yes.
 22               Q.     This says your cost of the buy-in
 23       would be 500,000.
 24                      Do you know how this was to be



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   1      time as a shareholder.
   2                     I would have a better understanding
   3      and be able to answer your question once I
   4      have seen all of those.               I don't know what my
   5      ownership of the company's value is.                      I don't
   6      know the value of the company.
   7                     So all of those have to be provided
   8      to me before I can answer your question
   9      correctly.
 10               Q.     Okay.
 11                      I think I'm not talking about your
 12       attorney, but my question is just as to
 13       bonuses.
 14                      Your oral contract was 500,000 cap
 15       on your bonuses, correct?
 16               A.     That's correct.
 17               Q.     Okay.
 18                      And you recognize that West
 19       disputes that, that they say there was no
 20       oral contract, correct?
 21               A.     Right.
 22               Q.     Okay.
 23               A.     They're -- they're disputing that
 24       there's an oral contract, and they took out



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   1      more than what they promised they would take
   2      out.
   3              Q.     Okay.
   4                     So the rest of your oral contract
   5      was you would be paid back when you left
   6      West, correct?
   7              A.     That's correct.
   8              Q.     And that would be if you left West
   9      for any reason anytime, correct?
 10               A.     That's correct.           As long as I have
 11       been a shareholder to a point where they took
 12       out the $500,000, then that would be my
 13       buy-in, and that would be my buy-out.                      It was
 14       a simple contract.
 15                      There wasn't a whole lot of hand
 16       waving or -- or my reason to -- to ask, you
 17       know, or -- or really be suspicious.
 18                      It was a simple contract.                There's
 19       a 500,000 buy-in, and there's a $500,000
 20       buy-out.
 21               Q.     But you're claiming the Complaint
 22       is also there were percentages per year,
 23       correct?
 24               A.     Right.      That they would use that to



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   1      cap up to $500,000.
   2              Q.     Did Erich Mounce tell you that?
   3              A.     Did Erich Mounce tell me what?
   4              Q.     About the 80, 60, 40, 20.
   5              A.     He did.
   6              Q.     Okay.
   7                     So remember I asked you:                Tell me
   8      all parts of the oral contract.
   9                     That's another part of the oral
 10       contract, that there would be an 80, 40 --
 11       80, 60, 40, 20, percent buy-in, correct?
 12               A.     Until my $500,000 were met,
 13       correct.
 14               Q.     Right.
 15                      Are there any other parts of that
 16       oral contract?
 17                      I want to make sure I've got all of
 18       the things that you think was orally
 19       contracted to, are there any other parts?
 20               A.     It was a -- it was a simple
 21       contract.        It would be deducted out of my
 22       bonuses up to $500,000 in a depreciating
 23       factor, and that was -- that was the main
 24       component.        There will be a buy-out.                I will



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   1      be treated equally in -- in the compensation
   2      model, and the voting powers.
   3              Q.      Okay.
   4                      I just want to make sure because
   5      you didn't mention the 80, 60, 40, 20 when I
   6      asked you to describe all parts of the oral
   7      contract.
   8              A.      I may have mentioned it prior to
   9      that, so that's my mistake.
 10               Q.      Okay.
 11               A.      I can try to repeat myself, yeah.
 12               Q.      Okay.
 13                       And, as we sit here today, you
 14       don't know of any partner who's ever left
 15       West who got a refund of their -- using your
 16       term "buy-in money," do you?
 17               A.      I am not privy to the contracts of
 18       any of the shareholders who left or who
 19       bought in and what kind of deal that they
 20       have individually with Kurt Tauer,
 21       Lee Schwartzberg, and, at the time,
 22       Erich Mounce --
 23               Q.      Right.      I get that.
 24                       I just want to make sure you don't



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   1      '13, '14, '15, didn't you?
   2              A.     No, I did not.
   3              Q.     Okay.
   4              A.     That was not privy to me, and that
   5      no one shared with me.
   6              Q.     Okay.
   7                     So when you became a shareholder
   8      even, you didn't know that West had sold its
   9      assets to Methodist, did you?
 10               A.     No, I did not know that.
 11               Q.     Did you attend shareholder meetings
 12       throughout --
 13               A.     Yeah.
 14               Q.     Let me finish -- throughout 2015,
 15       '16, '17, and '18?
 16               A.     Yes.
 17               Q.     And are you telling the jury that
 18       that topic, the fact that Methodist had
 19       bought the assets of West, never came up in
 20       any shareholder meetings?
 21               A.     That's correct.
 22               Q.     So if there are shareholder minutes
 23       that reflect lengthy discussions about buying
 24       back the assets from Methodist, is it your



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   1      testimony that you weren't aware of that?
   2              A.     That is correct.               We talked about
   3      buying back the assets when the -- there were
   4      talks of dissolution of the contract with
   5      Methodist.        That's the first time that I
   6      heard that West had sold its assets, not
   7      before.
   8              Q.     Okay.
   9                     So you were present at shareholder
 10       meetings as early as 2016 when West was
 11       discussing buying back their assets, correct?
 12               A.     I do not recall a shareholder
 13       meeting in 2016 that they talked about buying
 14       back assets.
 15               Q.     What's the first shareholder
 16       meeting that you recall when they talked
 17       about buying back their assets?
 18               A.     That was when there was a lot of
 19       discussion about coming out of that contract
 20       with Methodist, and that we would have to buy
 21       back the buildings and the assets.
 22               Q.     My question was --
 23               A.     -- so it was around 2018.
 24               Q.     2018 is your best remembrance?



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   1              A.     In around 2018 is when that
   2      discussion started to happen.
   3              Q.     Okay.
   4                     Get to Paragraph 34, if you will.
   5              A.     (Witness complies.)
   6                     Okay.
   7              Q.     It says at the time you agreed to
   8      buy in the fact that West had sold its assets
   9      and that shareholders had been paid
 10       significant payouts was not ascertainable by
 11       the plaintiff.
 12                      When did you learn about that?
 13               A.     It was towards my exit, after I had
 14       resigned, and I was in the process of, you
 15       know, winding down my clinic.
 16                      I shared a close proximity office
 17       with Dr. Gary Tian, at which time he told me
 18       that West had sold its assets to Methodist,
 19       at which time they all received moneys when
 20       Methodist bought those assets and the
 21       building and that it was shared amongst the
 22       shareholders.
 23               Q.     Okay.
 24                      I'm a little bit confused because



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   1      didn't ask.         I was never produced any.
   2              Q.     Okay.
   3                     I'm just looking for a document,
   4      Doctor.
   5                     I'm looking for your first
   6      shareholder meeting attendance; do you
   7      remember the date?
   8              A.     It's either February or March.                   I
   9      can't recall exactly my first shareholder
 10       meeting.       I -- I know for a fact that it was
 11       not January.
 12                              MS. STERLING:           Mike, I think
 13                      you're looking for Exhibit-14.
 14                              MR. McLAREN:           Yeah, I've been
 15                      looking at 15.           Thank you, Amy.
 16                                  -     -      -
 17                              (Whereupon, Exhibit-4, West
 18                      Clinic Shareholders Meeting
 19                      Minutes, Bates Number WEST004292
 20                      through WEST007162, was marked for
 21                      identification.)
 22                                  -     -      -
 23       BY MR. McLAREN:
 24               Q.     February 25th, 2015, was your -- it



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   1      looks like -- your first meeting as a
   2      shareholder.
   3                     Is that consistent with your
   4      memory?
   5              A.     Well --
   6              Q.     And let me get you -- let me read
   7      to you a portion of the minutes.
   8                     Dr. Tauer and Schwartzberg --
   9      "Dr. Tauer welcomed Dr. Moon Fenton to the
 10       meeting as a new shareholder of The West
 11       Clinic."
 12                      So would that have been your first
 13       meeting?
 14               A.     Yes.
 15               Q.     Okay.
 16                      And at that meeting, you had not
 17       ever signed a shareholder agreement, correct?
 18               A.     Correct, I have never seen one.
 19                              MR. McLAREN:           Okay.    And this
 20                      is going to be made the next
 21                      exhibit in this deposition, but
 22                      it's Exhibit-14.
 23       BY MR. McLAREN:
 24               Q.     And it says that Ron Davis -- do



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   1      you know who he was, Doctor?
   2              A.      Yes.    He was the CFO.
   3              Q.      Okay.
   4                      And the -- and the minutes reflect
   5      that he reviewed the financial status of the
   6      company for the month of January 2015, and
   7      year-to-date 2015 and then it's got a bunch
   8      of numbers, statistics.
   9                      Do you recall him presenting the
 10       financials for West Clinic?
 11               A.      Yes.    He did that as a standard.
 12               Q.      Okay.
 13                       Do you remember whether you asked
 14       any questions about that?
 15               A.      I didn't know what questions to
 16       ask.     There were no questions from anybody
 17       else.        I do recall that those financials were
 18       up on a -- a slide, on a PowerPoint, and we
 19       looked at it while we were having dinner.
 20                       I recall there was no discussion of
 21       what individual physicians made, or any
 22       reference to any buy-in, buy-out, or any of
 23       that sort of thing.
 24               Q.      Okay.



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   1      David may know that better than I.                     I don't
   2      know if I am or not, because I've never
   3      had -- we never reached a termination
   4      agreement.
   5              Q.     Right.      Yeah.
   6                     Now, Paragraph 120 says that you
   7      were never provided with a report or other
   8      documents that stated the total amount of
   9      bonuses that Plaintiff earned, or that showed
 10       and/or explained the deductions that
 11       Defendant made.
 12                      You did have meetings with
 13       Erich Mounce, didn't you?
 14               A.     I had a -- I had a phone call
 15       meeting.       It was a phone meeting with
 16       Erich Mounce, and I can check the dates, but
 17       I did, and we did go over -- I did ask him to
 18       give me an idea of how my bonuses were
 19       calculated, yes.
 20               Q.     Did he give you what he called a
 21       cheat sheet, and go over it with you showing
 22       in detail precisely how your bonus was
 23       calculated; do you remember that term that he
 24       used in one of the emails that you furnished



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   1      a cheat sheet?
   2              A.      He did, but he never furnished me
   3      with that cheat sheet.
   4              Q.      You didn't sit down and talk with
   5      him about your bonus calculations?
   6              A.      I sat down and talked with him over
   7      the phone, not face-to-face about how my
   8      bonus was calculated, and I jotted it down on
   9      a piece of paper, as you ran through those
 10       numbers.
 11                       And then there's a follow-up email
 12       for -- I don't know if that was the same
 13       time.        I think that there was one maybe
 14       another time that I asked him about that,
 15       because, yeah, again, I mean, you know, that
 16       was sort of a recurring theme, me asking him
 17       to give me some explanation and some
 18       documents.
 19                       But to answer your question, did I
 20       ever been given a cheat sheet, no, I had
 21       never been given a cheat sheet.
 22               Q.      You were never given an Excel
 23       spreadsheet that showed your compensation?
 24               A.      Not that I can recall.              I -- I



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   1      Exhibit-9 of your Complaint, and it's
   2      attached --
   3                             MS. STERLING:            Mike, I think
   4                     that is in our -- our Exhibit-13, I
   5                     believe.
   6                             MR. McLAREN:            Is it 13?
   7                             ATTORNEY#5:            Our Exhibit-13,
   8                     not hers.
   9                             MR. McLAREN:            Yes, yes.
 10                              ATTORNEY#5:            Our premarked 13.
 11                              MR. McLAREN:            Yes.
 12                              MR. BURKHALTER:            All right.
 13                      She has that.
 14                              MR. McLAREN:            Okay.   It's
 15                      called WEST00423.
 16       BY MR. McLAREN:
 17               Q.     This is you -- look at the email --
 18                              MR. McLAREN:            And I want to
 19                      make this the next exhibit, this
 20                      email, and the attachment.
 21       BY MR. McLAREN:
 22               Q.     This is an email from you to Mitch
 23       Graves, correct?
 24               A.     Correct.



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   1              Q.     And you found this attachment in
   2      your desk drawer, correct?
   3              A.     Yes, that's correct.
   4              Q.     And it references 2016 bonus
   5      calculation?
   6              A.     Correct.
   7              Q.     And in 2016, you learned that --
   8      well, according to your email, that you paid
   9      448,000 in 2016, correct?
 10               A.     Correct.
 11               Q.     And that doesn't account for what
 12       you paid in -- in 2015, correct?
 13               A.     Yeah.      I wasn't quite sure what I
 14       paid in 2015.
 15               Q.     So you knew on -- in 2016, what you
 16       had paid in totaled over $500,000, correct?
 17               A.     That's correct.
 18               Q.     Okay.
 19                      And yet you continued to be a
 20       shareholder in 2017, 2018, 2019, into 2020,
 21       correct?
 22               A.     Yes.     So 2016 is what I know was
 23       taken out of my -- as for a buy-in.                     In 2015,
 24       2017, 2018, I was never given any



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   1              A.     Yes.     You asked me about 2017.
   2              Q.     Oh, I'm sorry.           I thought I'd ask
   3      you about 2016.           In 2016 --
   4              A.     That's why -- yes.
   5              Q.     Let's start over.              I made a
   6      mistake.
   7                     In 2016, you knew exactly how much
   8      you had paid in for what you call your
   9      buy-in, correct?
 10               A.     Yes.
 11               Q.     Okay.
 12                      So with respect to Paragraph 158,
 13       the defendants didn't cover up anything about
 14       calendar year one -- 2016, did they?
 15               A.     Not for that year because I asked
 16       for that.
 17               Q.     Okay.
 18               A.     I also asked for that on other
 19       years.       I just didn't get it.
 20               Q.     Okay.
 21                      Let's go to your Answers to
 22       Interrogatories.
 23               A.     You have the Answers to
 24       Interrogatories.



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   1                     So you had a conference with Erich,
   2      Kurt Tauer, and Lee Schwartzberg about your
   3      bonus at year-end 2016, did you?
   4              A.     I guess I did.           I can't recall that
   5      meeting, but part of this email, that it
   6      seems so I did.
   7              Q.     Okay.
   8                     I mean, your recollection would be
   9      better in 2016 than your recollection now in
 10       2022, correct?
 11               A.     I would agree, yes.
 12               Q.     Okay.
 13                      Do you remember any other details
 14       of that meeting between you, Kurt Tauer, and
 15       Lee Schwartzberg, other than the fact that
 16       they told you what your bonus would be close
 17       to?
 18               A.     I don't recall.
 19               Q.     And he -- and you say -- you
 20       reference your first year bonus, and you
 21       reference that you want to know an
 22       explanation of the breakdown of your bonus,
 23       correct?
 24               A.     Yes.



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   1              Q.     And Mr. Mounce responded to you --
   2      well, now, did you -- and he said in his next
   3      email back to you the same day, three hours
   4      later, "For our discussion."
   5                     Is that where you got this note
   6      where you calculated what your bonus was?
   7              A.     I'm trying to understand this
   8      four-hour discussion.
   9              Q.     Yeah, I'm suggesting --
 10               A.     Yeah, pertains to --
 11               Q.     I'm suggesting to you that there
 12       was a something attached to that email; do
 13       you recall any of this?
 14               A.     No, I cannot recall.
 15               Q.     Okay.      Okay.
 16                      So let's go to Page 187.
 17               A.     (Witness complies.)
 18               Q.     And you said, "Thanks for meeting
 19       with me last Thursday."
 20                      So it looks like a month after you
 21       met with Erich, Kurt, and Lee, you had a
 22       reference to that meeting.                    Another meeting
 23       would be a second meeting because it was over
 24       a month later.



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   1                      Do you see that?
   2              A.      No, sir.      So, you know, this is --
   3      this is -- let me just finish.                   This is
   4      confusing because your email timeline is
   5      backwards.
   6                      So to your question in Page 186,
   7      you know, where it says, "Erich Mounce" --
   8      the email says, "P.S. Dr. Fenton, please call
   9      me or ask Jenny to set up a time."
 10                       And I told you I must have done
 11       that.        I recall doing such.             Now, the
 12       followup to December 23rd is the
 13       January 23rd, 2016, and I referred to a
 14       meeting.        Do you see that, December 23rd,
 15       2015?        And that the next email I send in is
 16       January 23, 2016, so that is, what, roughly
 17       about a month later.
 18                       I say, "Thank you for meeting with
 19       me last Thursday."
 20                       So there must have been an email
 21       that I sent to Jenny and that Erich and I
 22       met, and I have a -- follow-up questions that
 23       I'm asking him, which he's answering at the
 24       top of -- of that -- that email page.



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   1              Q.     Okay.
   2                     Let's -- if we could --
   3              A.     Can you see that?
   4              Q.     Let's, if we could --
   5              A.     And then what you're referring to
   6      is -- you -- you know, you're looking at a
   7      timeline of over a year, December 23, 2016,
   8      you know, that's a year later.
   9              Q.     Let's do this.
 10               A.     January of 2016, that's 12 months
 11       apart.
 12               Q.     Yes.
 13                      Let's, if we could, start over on
 14       this, okay --
 15               A.     Okay.      Let's do that.
 16               Q.     -- because email threads are always
 17       confusing.
 18               A.     Yeah.
 19               Q.     And December -- on Page 186,
 20       Mr. Mounce told you what your bonus was going
 21       to be, 20,000, plus, right?
 22               A.     Yes.
 23               Q.     And that's -- December 23rd, 2015,
 24       you knew to the penny what your bonus was



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   1      going to be, correct?
   2              A.     Yes.
   3              Q.     And Mr. Mounce suggested that you
   4      call him or Jenny to set up a time to meet,
   5      correct?
   6              A.     Yes.
   7              Q.     And within a month of that you had
   8      met with Mr. Mounce, if you look at Page 187,
   9      correct?
 10               A.     Correct.
 11               Q.     Okay.
 12                      You had met with him at the prior
 13       Thursday, correct?
 14               A.     Correct.
 15               Q.     And you said that -- well, so what
 16       you said earlier about never meeting with him
 17       is probably wrong.
 18                      You probably misstated, correct?
 19               A.     Well, I mean, I met with him
 20       multiple times over the course.                   Did I meet
 21       with him to talk about my bonus, you know, I
 22       didn't have a quite clear recollection,
 23       except that phone conversation because I kept
 24       a note for myself.



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   1                     But after looking at these emails,
   2      yeah, I have met with him on that one
   3      Thursday after shareholder meeting.                     So, to
   4      your point, yes, there was this -- this one
   5      incident that we did meet.
   6              Q.     Okay.
   7                     So you say, "Thanks for meeting
   8      with me last Thursday.              It was very helpful
   9      to talk with you about compensation model,
 10       which I had no clue before the meeting.
 11       After having set the time to process the
 12       information, I have a few follow-up
 13       questions."
 14                      And then you said, "Was the 2015
 15       year-end bonus calculated on the model, based
 16       on the model we discussed?"
 17                      So you recall now having discussed
 18       the compensation model with Mr. Mounce in
 19       January of 2016, correct?
 20               A.     I'm sorry, can you ask that
 21       question again?
 22               Q.     Sure.
 23                      You say, "Was the 2016 year-end
 24       bonus calculated based on the model we



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   1      discussed?"
   2                     So you discussed the compensation
   3      model with Mr. Mounce, correct?
   4              A.     Yes, yes.
   5              Q.     Okay.
   6                     And then you say in Number 3, "How
   7      much of the bonus was allocated with a
   8      buy-in, and is this the same amount for the
   9      next four years?"
 10                      And that's in January of 2016,
 11       correct?
 12               A.     Correct.
 13               Q.     Okay.
 14                      So you discussed that with
 15       Mr. Mounce in January of 2016, correct?
 16               A.     Correct.
 17               Q.     Okay.
 18                      And he responds and he says that he
 19       has "a one-page cheat sheet I have developed
 20       for you."
 21                      And he says, "No one has ever asked
 22       before, and we never provided to a non-fully
 23       vested shareholder."
 24                      Do you remember getting that email?



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   1      you were not fully into the company yet?
   2              A.     I -- I have not yet contributed
   3      $500,000 into the company yet.                   That's --
   4      that's my interpretation.
   5              Q.     Okay.
   6                     Now, go the next page, 188.
   7              A.     (Witness complies.)
   8                     Okay.
   9              Q.     And you get an email from Eric
 10       Mounce, December 23, 2016, telling you the
 11       precise dollar amount of your year-end bonus,
 12       correct?
 13               A.     Yes.
 14               Q.     And you responded about why it's
 15       not 600,000, correct?
 16               A.     Right.
 17               Q.     And you wanted to know the
 18       breakdown of your bonus.
 19                      Now, go back to Exhibit-9 of the
 20       Complaint, which has your handwritten notes
 21       with an exact breakdown of your bonus.
 22               A.     (Witness complies.)
 23               Q.     Do you see that?
 24               A.     That was --



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   1                             MR. BURKHALTER:           Did I catch
   2                     that email?
   3                             THE WITNESS:           It's not -- the
   4                     email -- you're talking about
   5                     sticky note that I had handwritten?
   6                             MR. McLAREN:
   7      BY MR. McLAREN:
   8              Q.     I don't know if it's a sticky note
   9      or not.       I don't know.
 10               A.     Can you hold it up, if you have,
 11       just show me what you're referring to?
 12                              MR. BURKHALTER:           It's
 13                      Exhibit-13 to your production,
 14                      Exhibit-13?
 15                              THE WITNESS:           Yes.
 16                              MS. STERLING:           Yes.     It's our
 17                      premarked Exhibit-13.                 Yes, that is
 18                      correct.
 19                              MR. McLAREN:           Okay.
 20       BY MR. McLAREN:
 21               Q.     So that's after a conversation with
 22       Erich Mounce that you wrote down about your
 23       2016 exact breakdown of your bonus
 24       calculation, correct?



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   1              A.     Yes.
   2              Q.     And this is in your handwriting,
   3      right?
   4              A.     Yes.
   5              Q.     So you knew in December 2016 or
   6      January 2017 that 40 percent had been
   7      deducted from your bonus.
   8                     Do you see that that's your
   9      handwriting, "40 percent"?
 10               A.     Yes.
 11               Q.     So does that refresh your
 12       recollection that Mr. Mounce told you that
 13       your bonus would be vesting or paying at 100
 14       percent, 80 percent, 60 percent, 40 percent
 15       each year, on a yearly basis?
 16               A.     No.     There was never a vesting
 17       schedule of 80, 60, 40, 20.
 18               Q.     Okay.
 19               A.     There was a reference made in that
 20       that's -- that can be done to -- until I
 21       reach the maximum of $500,000, that it would
 22       be in a grading fashion where each year I
 23       would be making more, that as I became a more
 24       senior shareholder, that I would retain more



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                          Exhibit B
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    From:              Erich Mounce
    To:                Moon Fenton
    Subject:           Year End
    Date:              Wednesday, December 23, 2015 2:39:18 PM


    Hi Dr. Fenton:  

    Thank you for another amazing year with the West Clinic and Cancer Center. Your 4th quarter
    bonus is $20,632.17.

    Please remember that these payments are made via hard checks that are cut and dated in
    December and manually handed out the first week of January.

    Please feel free to contact Bonnie Legg with any changes or tax withholding questions no later
    than Monday December 28th.

    Thank you so much for all you do for our patients and the West family.

    Erich



    PS Dr. Fenton, please call me or ask Gennie to set up a time if you want to go over the model
    in person.




    Erich Mounce
    Chief Executive Officer
    UT West Cancer Center

    100 North Humphreys Blvd.
    Memphis, Tennessee 38120

    901-683-0055 Ext 1383
    901-481-2475 Mobile

    EMounce@westclinic.com




                                                                             CONFIDENTIAL WEST000186
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    From:            Erich Mounce
    To:              Moon Fenton
    Subject:         RE: follow up questions


    Hi Moon. I have a one page cheat sheet I have developed for you. I need to make sure it is ok
    with Drs. Tauer and Schwartzberg. We have never provided the total model calculation before
    to a non-fully vested shareholder.   There is no historical reason for that, no one has ever asked
    and I just want to make sure they are ok with it.

    The cheat sheet will show what you got as your base draw, what the total model generated for
    you was, then your buy in and any other small changes etc..

    I should know by tomorrow.

    Thanks

    Erich

    From: Moon Fenton
    Sent: Saturday, January 23, 2016 10:32 AM
    To: Erich Mounce
    Subject: follow up questions

    Hi Erich,

    Thanks for meeting with me last Thursday. It was very helpful to talk with you about compensation
    model, which I had no clue before the meeting. After having some time to process the information, I
    have a few follow-up questions.

    1. Was the 2015 year-end bonus calculated based on the model we discussed?
    2. If so, then how much of the $20,000 was calculated from the 25% "education" piece?
    3. How much of the bonus was allocated to the buy-in and is this the same amount for the next 4 years?

    Thanks again!

    Moon




                                                                                   CONFIDENTIAL WEST000187
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    From:             Erich Mounce
    To:               Moon Fenton
    Subject:          RE: Year End Payment / Bonus
    Date:             Friday, December 23, 2016 12:41:13 PM
    Attachments:      Moon Fenton Pay review 2016.xlsx


    For our discussion



    From: Moon Fenton
    Sent: Friday, December 23, 2016 9:54 AM
    To: Erich Mounce
    Subject: Re: Year End Payment / Bonus

    Erich,

    My last conversation with you, Kurt, and Lee was that my bonus will be near $600,000 considering
    my RVUs will be near 9,000.
    My current RVU surpasses that so I'm not sure why my bonus is less than half of projected.

    My first year shareholder bonus was about $20,000 despite my participation in teaching, meetings,
    and tumor conferences. I understand that I was on a maternity leave that year but I did my full load
    of rounding, weekend and holiday calls and generated over 5000 RVUs.

    Please explain the breakdown of my bonus for me so that I do not feel unfairly compensated.

    Sincerely,
    Moon

    Sent from my iPhone

    On Dec 23, 2016, at 9:17 AM, Erich Mounce <emounce@WESTCLINIC.com> wrote:

             Dr. Fenton:

             On Wednesday December 21st, the West Clinic Shareholders approved the final
             year end distribution and bonus allocations for each oncology discipline. Each
             allocation amount has been processed through each disciplines compensation
             model. As the result of another amazing year and your hard work, you will
             receive a yearend bonus in the amount of $258,898.00. Your yearend total
             compensation shall be approximately $808,898.49. There may be some variance
             due to rounding in the model, so please await your W-2 for final year end paid
             amounts.

             The payment will be paid via a “hard live check” and will be dated December 28th
             or 29th of December 2016. The checks will be available for distribution
             beginning the week of January 4th 2017. Should you have any special requests


                                                                                 CONFIDENTIAL WEST000188
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        with regard to tax withholdings or other payment processes, please contact Bonnie
        Legg directly.

        As always, thank you for your commitment and service to our patients and our
        associates

        Erich




        Erich Mounce | Chief Executive Officer
        West Cancer Center
        7945 Wolf River Blvd
        Memphis, TN 38138
        Phone: 901-683-0055 ext. 61383 | Mobile: 901-481-2475
        westcancercenter.com | 901.683.0055

        <image003.jpg>




                                                                         CONFIDENTIAL WEST000189
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                                           Moon Fenton

                                           2016 Pay per formula:


          Total                                                          Quality /                 Education /
          Generated                        Productivity                  Metrics                   Teaching
             1,257,243.91                   $ 805,710.91                 $ 301,265.00               $ 150,268.00


Model is Total Generated (less) Base of $510,000 =         $ 747,243.91
                                           Times 40%       $ 298,897.56 Thus you get this % of your bonus since this is your second year and it is a buy in of 20% per yea

          Thus Base         $ 510,000.00
          Bonus             $ 298,897.56

          Total Due         $ 808,897.56

          Paid to Date      $ 550,000.00 This includes 12 months at $31,250 and $40,000 total of quarterly bonuses

          Final Bonus due $ 258,897.56




                                                                                                                Moon Fenton Pay review 2016 ‐ CONFIDENTIAL WEST000230
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                           Exhibit C
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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                 FOR THE WESTERN DIVISION

   MOON FENTON, M.D.,                      )
                                           )
        Plaintiff,                         )
                                           )
   v.                                      )                   No: 2:21-cv-02790
                                           )                   Judge: Lipman/Pham
   THE WEST CLINIC, PLLC, f/k/a THE        )
   WEST CLINIC, PC, d/b/a WEST CANCER CENTER,)
   WEST LEASECO, LLC,                      )
   WEST DESOTO PARTNERS, LLC,              )                    JURY DEMAND
   WEST PARTNERS, LLC,                     )
   WEST UNION PARTNERS, LLC,               )
   WEST WOLF RIVER PARTNERS, L.P., f/k/a   )
   WEST WOLF RIVER PARTNERS, LLC,          )
   WEST CAPITAL, LLC,                      )
   WEST CLINIC HOLDCO, PC, and             )
   WEST EQUITY, LLC,                       )
                                           )
        Defendants.                        )


    PLAINTIFF’S ANSWERS TO DEFENDANTS’ FIRST SET OF INTERROGATORIES


          COMES NOW, the Plaintiff, Moon Fenton, M.D., by and through counsel, pursuant to

   Rule 33 of the Federal Rules of Civil Procedure, and hereby answers the Defendants’ First Set

   of Interrogatories, as follows:

          INTERROGATORY NO. 1:              Identify all persons having knowledge or information of

   any relevant or discoverable facts or information which support, negate, or otherwise relate to the

   allegations or any matter related to this Litigation, regardless of whether you intend to call them

   as a witness, and for each person identified provide a detailed summary of the facts or information

   of which the person is knowledgeable.

          ANSWER:         The Plaintiff objects to this Interrogatory because it is overly broad and

   burdensome, and as to many of the people listed below, that unless otherwise stated, Plaintiff has
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   only general knowledge of the areas the witnesses should have information and knowledge of, but

   she cannot get into their minds to provide a definitive “summary of the facts or information of

   which the persons is knowledgeable”. However, without waiving the objection, and in a good

   faith attempt to answer, Plaintiff states:

   1.      Moon Fenton, M.D. has knowledge of the allegations in the Complaint, Exhibits thereto,

   and of her answers to these Interrogatories and Document Requests, and of the documents provided

   to Defendant in discovery, and of the information set forth in her Rule 26 disclosures to which

   reference is hereby made. For further answer, see Plaintiff’s Answers to Interrogatories set forth

   below, and her response to the Document Requests and the documents and things provided

   therewith. For further answer, see documents provided in response to the Document Requests.

   2.      Reid Evensky should have knowledge of Plaintiff’s allegations contained in the

   Complaint, including Defendants’ policies and procedures and/or lack thereof, the various

   agreements signed by the shareholders, The West Clinic’s bonus structure as it may have existed

   and as it may have changed and whether it was uniformly applied, details on the amount of bonuses

   the various shareholders were paid, details on how the bonuses were calculated for the various

   shareholders and what was deducted therefrom, the secrecy surrounding the calculation of bonuses

   for the various shareholders, the subjective nature of the bonus calculation process, the details of

   any compensation or other monies received by the shareholders from The West Clinic and/or from

   the related entities, details on the pay scale for the various shareholders, information on what the

   various shareholders paid, if anything, in order to acquire their interests in The West Clinic and in

   the related entities, including the details of any vesting schedule and/or the details of any buy-ins

   for the various shareholders of The West Clinic, the details of payments made to shareholders who

   left The West Clinic and how same were calculated, the details of the financial dealings, expenses,

   and debts of The West Clinic and related entities, of the representations made to Plaintiff, the legal

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   structure of Defendants, the deal with Methodist and why it was terminated, the False Claims Act

   case filed against The West Clinic, Methodist, Erich Mounce, Lee Schwartzberg, and others, the

   settlement thereof, and why it was dismissed without prejudice, the CARES Act loan, and of legal

   claims made by shareholders and the settlement or disposition of such claims. He should also have

   knowledge of his communications with Plaintiff following her notice of termination and of the

   reasons why Defendants failed to honor their agreements with Plaintiff, and he would have

   knowledge of the two settlement agreements he provided to Plaintiff following her termination.

   For further answer, see Plaintiff’s Response to Interrogatory No. 2, and see documents provided

   in response to the Document Requests.

   3.     Erich Mounce, as CEO, made promises and representations to Plaintiff regarding bonuses,

   the shareholder model, and the buy-in for $500,000. He should also have knowledge of Plaintiff’s

   allegations contained in the Complaint, including Defendants’ policies and procedures and/or lack

   thereof, the various agreements signed by the shareholders, The West Clinic’s bonus structure as

   it may have existed and as it may have changed and whether it was uniformly applied, details on

   the amount of bonuses the various shareholders were paid, details on how the bonuses were

   calculated for the various shareholders and what was deducted therefrom, the secrecy surrounding

   the calculation of bonuses for the various shareholders, the subjective and secretive nature of the

   bonus calculation process, the details of any compensation or other monies received by the

   shareholders from The West Clinic and/or from the related entities, details on the pay scale for the

   various shareholders, information on what the various shareholders paid, if anything, in order to

   acquire their interests in The West Clinic and in the related entities, including the details of any

   vesting schedule and/or the details of any buy-ins for the various shareholders of The West Clinic,

   the details of payments made to shareholders who left The West Clinic and how same were

   calculated, the details of the financial dealings, expenses, the deal with Methodist and why it was

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   terminated, the False Claims Act case filed against The West Clinic, Methodist, Erich Mounce,

   Lee Schwartzberg, and others, the settlement thereof, and why it was dismissed without prejudice,

   and debts of The West Clinic and related entities, and of the representations made to Plaintiff. For

   further answer, see Plaintiff’s Answers to Interrogatories Nos. 2 and 6, and see Exh. 9 to

   Complaint. For further answer, see documents provided in response to the Document Requests.

   4.     Mitch Graves, CEO, should have knowledge of Plaintiff’s allegations contained in the

   Complaint, including Defendants’ policies and procedures and/or lack thereof, the various

   agreements signed by the shareholders, The West Clinic’s bonus structure as it may have existed

   and as it may have changed and whether it was uniformly applied, details on the amount of bonuses

   the various shareholders were paid, details on how the bonuses were calculated for the various

   shareholders and what was deducted therefrom, the secrecy surrounding the calculation of bonuses

   for the various shareholders, the subjective nature of the bonus calculation process, the details of

   any compensation or other monies received by the shareholders from The West Clinic and/or from

   the related entities, details on the pay scale for the various shareholders, information on what the

   various shareholders paid, if anything, in order to acquire their interests in The West Clinic and in

   the related entities, including the details of any vesting schedule and/or the details of any buy-ins

   for the various shareholders of The West Clinic, the details of payments made to shareholders who

   left The West Clinic and how same were calculated, the details of the financial dealings, expenses,

   and debts of The West Clinic and related entities, the deal with Methodist and why it was

   terminated, the False Claims Act case filed against The West Clinic, Methodist, Erich Mounce,

   Lee Schwartzberg, and others, the settlement thereof, and why it was dismissed without prejudice,

   of the representations and promises made to Plaintiff, and the CARES Act loan. For further

   answer, see Plaintiff’s Answers to Interrogatories Nos. 2 and 6, and see documents provided in

   response to the Document Requests.

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   5.     Dr. Sonia Benn was present at many of the shareholder meetings, and would have

   knowledge of what was discussed at the meetings. She would have knowledge of her buy-in and

   of her bonuses. She and Plaintiff had discussions regarding the buy-in where she didn’t mind it

   because when she was hired, her student loans were paid back by the company. When Plaintiff

   told her that she would be taking legal actions after she left The West Clinic, Dr. Benn shared that

   she had hoped The West Clinic would be fair. She should also have knowledge of Plaintiff’s

   allegations contained in the Complaint, including Defendants’ policies and procedures and/or lack

   thereof, the various agreements signed by the shareholders, The West Clinic’s bonus structure as

   it may have existed and as it may have changed and whether it was uniformly applied, details on

   the amount of bonuses the various shareholders were paid, details on how the bonuses were

   calculated for the various shareholders and what was deducted therefrom, the secrecy surrounding

   the calculation of bonuses for the various shareholders, the subjective nature of the bonus

   calculation process, the details of any compensation or other monies received by the shareholders

   from The West Clinic and/or from the related entities, details on the pay scale for the various

   shareholders, information on what the various shareholders paid, if anything, in order to acquire

   their interests in The West Clinic and in the related entities, including the details of any vesting

   schedule and/or the details of any buy-ins for the various shareholders of The West Clinic, the

   details of payments made to shareholders who left The West Clinic and how same were calculated,

   the details of the financial dealings, expenses, and debts of The West Clinic and related entities,

   and of the representations made to Plaintiff. For further answer, see Plaintiff’s Answer to

   Interrogatory No. 2, and see documents provided in response to the Document Requests.

   6.     Dr. Sylvia Richey, now Medical Director, was present at most of the shareholder meetings

   and should have knowledge of what was discussed at said meetings. She would have knowledge

   of her buy-in, and the bonuses she was paid. She should have knowledge of Plaintiff’s allegations

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   contained in the Complaint, including Defendants’ policies and procedures and/or lack thereof, the

   various agreements signed by the shareholders, The West Clinic’s bonus structure as it may have

   existed and as it may have changed and whether it was uniformly applied, details on the amount

   of bonuses the various shareholders were paid, details on how the bonuses were calculated for the

   various shareholders and what was deducted therefrom, the secrecy surrounding the calculation of

   bonuses for the various shareholders, the subjective nature of the bonus calculation process, the

   details of any compensation or other monies received by the shareholders from The West Clinic

   and/or from the related entities, details on the pay scale for the various shareholders, information

   on what the various shareholders paid, if anything, in order to acquire their interests in The West

   Clinic and in the related entities, including the details of any vesting schedule and/or the details of

   any buy-ins for the various shareholders of The West Clinic, the details of payments made to

   shareholders who left The West Clinic and how same were calculated, the details of the financial

   dealings, expenses, and debts of The West Clinic and related entities, and of the representations

   made to Plaintiff. For further answer, see Plaintiff’s Answer to Interrogatory No. 2, and see

   documents provided in response to the Document Requests.

   7.     Dr. Stephen Besh, was present at many of the shareholder meetings and should have

   knowledge of what was discussed at said meetings. He would have knowledge of his buy-in and

   bonus payments. He should also have knowledge of Plaintiff’s allegations contained in the

   Complaint, including Defendants’ policies and procedures and/or lack thereof, the various

   agreements signed by the shareholders, The West Clinic’s bonus structure as it may have existed

   and as it may have changed and whether it was uniformly applied, details on the amount of bonuses

   the various shareholders were paid, details on how the bonuses were calculated for the various

   shareholders and what was deducted therefrom, the secrecy surrounding the calculation of bonuses

   for the various shareholders, the subjective nature of the bonus calculation process, the details of

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   any compensation or other monies received by the shareholders from The West Clinic and/or from

   the related entities, details on the pay scale for the various shareholders, information on what the

   various shareholders paid, if anything, in order to acquire their interests in The West Clinic and in

   the related entities, including the details of any vesting schedule and/or the details of any buy-ins

   for the various shareholders of The West Clinic, the details of payments made to shareholders who

   left The West Clinic and how same were calculated, the details of the financial dealings, expenses,

   and debts of The West Clinic and related entities, and of the representations made to Plaintiff. For

   further answer, see Plaintiff’s Answer to Interrogatory No. 2, and see documents provided in

   response to the Document Requests.

   8.     Dr. Kurt Tauer. He attended shareholder meetings and should have knowledge of what

   was discussed at said meetings. On one occasion, he discussed whether new shareholders (Michael

   Berry and Richard Fine) would be allowed to buy-in. He would have knowledge of his buy-in, if

   any, and of the bonuses he received. He should also have knowledge of Plaintiff’s allegations

   contained in the Complaint, including Defendants’ policies and procedures and/or lack thereof, the

   various agreements signed by the shareholders, The West Clinic’s bonus structure as it may have

   existed and as it may have changed and whether it was uniformly applied, details on the amount

   of bonuses the various shareholders were paid, details on how the bonuses were calculated for the

   various shareholders and what was deducted therefrom, the secrecy surrounding the calculation of

   bonuses for the various shareholders, the subjective nature of the bonus calculation process, the

   details of any compensation or other monies received by the shareholders from The West Clinic

   and/or from the related entities, details on the pay scale for the various shareholders, information

   on what the various shareholders paid, if anything, in order to acquire their interests in The West

   Clinic and in the related entities, including the details of any vesting schedule and/or the details of

   any buy-ins for the various shareholders of The West Clinic, the details of payments made to

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   shareholders who left The West Clinic and how same were calculated, the details of the financial

   dealings, expenses, and debts of The West Clinic and related entities, and of the representations

   made to Plaintiff. For further answer, see Plaintiff’s Answer to Interrogatory No. 2, and see

   documents provided in response to the Document Requests.

   9.     Dr. Lee Schwartzberg, former medical director at the time, would have knowledge of his

   buy-in, if any, and of his bonuses. He also discussed Plaintiff’s shareholder buy-in with Plaintiff

   and was involved in the salary negotiations at the time of her hiring in 2012. He should also have

   knowledge of Plaintiff’s allegations contained in the Complaint, including Defendants’ policies

   and procedures and/or lack thereof, the various agreements signed by the shareholders, The West

   Clinic’s bonus structure as it may have existed and as it may have changed and whether it was

   uniformly applied, details on the amount of bonuses the various shareholders were paid, details on

   how the bonuses were calculated for the various shareholders and what was deducted therefrom,

   the secrecy surrounding the calculation of bonuses for the various shareholders, the subjective

   nature of the bonus calculation process, the details of any compensation or other monies received

   by the shareholders from The West Clinic and/or from the related entities, details on the pay scale

   for the various shareholders, information on what the various shareholders paid, if anything, in

   order to acquire their interests in The West Clinic and in the related entities, including the details

   of any vesting schedule and/or the details of any buy-ins for the various shareholders of The West

   Clinic, the details of payments made to shareholders who left The West Clinic and how same were

   calculated, the details of the financial dealings, expenses, and debts of The West Clinic and related

   entities, the deal with Methodist and why it was terminated, the False Claims Act case filed against

   The West Clinic, Methodist, Erich Mounce, Lee Schwartzberg, and others, the settlement thereof,

   and why it was dismissed without prejudice, and of the representations made to Plaintiff. For




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   further answer, see Plaintiff’s Answers to Interrogatories Nos. 2 and 6, and see documents

   provided in response to the Document Requests.

   10.    Dr. Bradley Somer, now president, would have knowledge of his own buy-in, if any, and

   also of his bonuses. He also discussed the unfortunate situation regarding the financial status of

   the West Clinic for the “young” shareholders (Eric Weidower, Greg Vidal, and Plaintiff), that

   despite buying-in, that they were unable to enjoy the compensation of the other shareholders in the

   past because of the mistake in joining One Oncology. He should have knowledge of Plaintiff’s

   allegations contained in the Complaint, including Defendants’ policies and procedures and/or lack

   thereof, the various agreements signed by the shareholders, The West Clinic’s bonus structure as

   it may have existed and as it may have changed and whether it was uniformly applied, details on

   the amount of bonuses the various shareholders were paid, details on how the bonuses were

   calculated for the various shareholders and what was deducted therefrom, the secrecy surrounding

   the calculation of bonuses for the various shareholders, the subjective nature of the bonus

   calculation process, the details of any compensation or other monies received by the shareholders

   from The West Clinic and/or from the related entities, details on the pay scale for the various

   shareholders, information on what the various shareholders paid, if anything, in order to acquire

   their interests in The West Clinic and in the related entities, including the details of any vesting

   schedule and/or the details of any buy-ins for the various shareholders of The West Clinic, the

   details of payments made to shareholders who left The West Clinic and how same were calculated,

   the details of the financial dealings, expenses, and debts of The West Clinic and related entities,

   the deal with Methodist and why it was terminated, the False Claims Act case filed against The

   West Clinic, Methodist, Erich Mounce, Lee Schwartzberg, and others, the settlement thereof, and

   why it was dismissed without prejudice, and of the representations made to Plaintiff. For further

   answer, see Plaintiff’s Answer to Interrogatory No. 2.

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   11.    Dr. Daniel Powell should have knowledge of his own buy-in and of bonuses he received.

   He also would know what was discussed at shareholder meetings. He should also have knowledge

   of the allegations contained in the Complaint, including Defendants’ policies and procedures

   and/or lack thereof, the various agreements signed by the shareholders, The West Clinic’s bonus

   structure as it may have existed and as it may have changed and whether it was uniformly applied,

   details on the amount of bonuses the various shareholders were paid, details on how the bonuses

   were calculated for the various shareholders and what was deducted therefrom, the secrecy

   surrounding the calculation of bonuses for the various shareholders, the subjective nature of the

   bonus calculation process, the details of any compensation or other monies received by the

   shareholders from The West Clinic and/or from the related entities, details on the pay scale for the

   various shareholders, information on what the various shareholders paid, if anything, in order to

   acquire their interests in The West Clinic and in the related entities, including the details of any

   vesting schedule and/or the details of any buy-ins for the various shareholders of The West Clinic,

   the details of payments made to shareholders who left The West Clinic and how same were

   calculated, the details of the financial dealings, expenses, and debts of The West Clinic and related

   entities, and of the representations made to Plaintiff. For further answer, see Plaintiff’s Answer to

   Interrogatory No. 2.

   12.    Dr. Todd Tillmanns, was present at many of the shareholder meetings and would know

   what was discussed at said meetings. He would have knowledge of his own buy-in and of bonuses

   he received. At one meeting, Dr. Tillmanns proposed to bring in more shareholders to use their

   buy-in to help with financial needs in 2018 when separating from Methodist. Dr. Courtney Shires

   told Plaintiff that Dr. Tillmanns approached her in regards to becoming a shareholder with

   significant financial benefits as she becomes more of a senior shareholder. He should also have

   knowledge of Plaintiff’s allegations contained in the Complaint, including Defendants’ policies

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   and procedures and/or lack thereof, the various agreements signed by the shareholders, The West

   Clinic’s bonus structure as it may have existed and as it may have changed and whether it was

   uniformly applied, details on the amount of bonuses the various shareholders were paid, details on

   how the bonuses were calculated for the various shareholders and what was deducted therefrom,

   the secrecy surrounding the calculation of bonuses for the various shareholders, the subjective

   nature of the bonus calculation process, the details of any compensation or other monies received

   by the shareholders from The West Clinic and/or from the related entities, details on the pay scale

   for the various shareholders, information on what the various shareholders paid, if anything, in

   order to acquire their interests in The West Clinic and in the related entities, including the details

   of any vesting schedule and/or the details of any buy-ins for the various shareholders of The West

   Clinic, the details of payments made to shareholders who left The West Clinic and how same were

   calculated, the details of the financial dealings, expenses, and debts of The West Clinic and related

   entities, and of the representations made to Plaintiff. For further answer, see Plaintiff’s Answer to

   Interrogatory No. 2.

   13.    Bonnie V. Legg would have knowledge of the allegations contained in the Complaint,

   including Defendants’ policies and procedures and/or lack thereof, the various agreements signed

   by the shareholders, The West Clinic’s bonus structure as it may have existed and as it may have

   changed and whether it was uniformly applied, details on the amount of bonuses the various

   shareholders were paid, details on how the bonuses were calculated for the various shareholders

   and what was deducted therefrom, the secrecy surrounding the calculation of bonuses for the

   various shareholders, the subjective nature of the bonus calculation process, the details of any

   compensation or other monies received by the shareholders from The West Clinic and/or from the

   related entities, details on the pay scale for the various shareholders, information on what the

   various shareholders paid, if anything, in order to acquire their interests in The West Clinic and in

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   the related entities, including the details of any vesting schedule and/or the details of any buy-ins

   for the various shareholders of The West Clinic, the details of payments made to shareholders who

   left The West Clinic and how same were calculated, the details of the financial dealings, expenses,

   and debts of The West Clinic and related entities, and of the representations made to Plaintiff. For

   further answer, see Plaintiff’s Asnwer to Interrogatory No. 2.

   14.    Dr. Gary Tian, was present at many of the shareholder meetings and would have

   knowledge of what was discussed at said meetings. He also would have knowledge of his buy-in

   and of the bonuses he received. He also shared with Plaintiff in about June of 2020, that since

   West received $10 million in the CARES Act loan, that money would surely benefit all of the

   shareholders, and that Plaintiff deserved a share of that money when it was forgiven. He should

   also have knowledge of the allegations contained in the Complaint, including Defendants’ policies

   and procedures or lack thereof, Defendants’ bonus structure, bonuses the shareholders were paid,

   the bonuses and compensation he was specifically paid, the details of his own buy-in and/or vesting

   schedule, and the secretive nature of how bonuses were calculated and/or of how or why other

   shareholders were compensated, and complaints and/or concerns relating thereto. For further

   answer, see Plaintiff’s Answer to Interrogatory No. 2.

   15.    Dr. Jarvis Reed, was present at many of the shareholder meetings and would have

   knowledge of what was discussed at said meetings. He would have knowledge of his buy-in and

   of the bonuses he received. He also shared with Plaintiff that the shareholders typically make $1.2

   – 1.4 million dollars per year. As Plaintiff understands, he is the only one who did not sign the

   new contract in 2019, stating he needed his personal legal counsel to review the documents, at

   which point a special shareholder meeting was held to discuss his termination. He should also

   have knowledge of the allegations contained in the Complaint, including Defendants’ policies and

   procedures or lack thereof, Defendants’ bonus structure, bonuses the shareholders were paid, the

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   bonuses and compensation he was specifically paid, the details of his own buy in and/or vesting

   schedule, and the secretive nature of how bonuses were calculated and/or of how or why other

   shareholders were compensated, and complaints and/or concerns relating thereto. For further

   answer, see Plaintiff’s Answer to Interrogatory No. 2.

   16.    Dr. Gregory Vidal, was present at many of the shareholder meetings and would have

   knowledge of what was discussed at said meetings. He would have knowledge of his buy-in and

   of the bonuses he received. He expressed his concerns to Plaintiff regarding the honesty of the

   bonus structure. He should also have knowledge of the allegations contained in the Complaint,

   including Defendants’ policies and procedures or lack thereof, Defendants’ bonus structure,

   bonuses the shareholders were paid, the bonuses and compensation he was specifically paid, the

   details of his own buy in and/or vesting schedule, and the secretive nature of how bonuses were

   calculated and/or of how or why other shareholders were compensated, and complaints and/or

   concerns relating thereto. For further answer, see Plaintiff’s Answer to Interrogatory No. 2.

   17.    Dr. Eric Wiedower, was present at many of the shareholder meetings, and would have

   knowledge of what was discussed at said meetings. He would have knowledge of his buy-in and

   of the bonuses he received. He became a shareholder after Plaintiff had become a shareholder.

   He and Plaintiff discussed that he took some time to think about whether he would become a

   shareholder, and he did not accept the proposal immediately. Ultimately, he accepted the position

   as a shareholder and was also told about the terms of his buy-in at the time of agreement. Dr.

   Wiedower also voiced concerns over the fact that he paid his buy-in and the unfair compensation

   he received compared to the other shareholders. He should also have knowledge of the allegations

   contained in the Complaint, including Defendants’ policies and procedures or lack thereof,

   Defendants’ bonus structure, bonuses the shareholders were paid, the bonuses and compensation

   he was specifically paid, the details of his own buy in and/or vesting schedule, and the secretive

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   nature of how bonuses were calculated and/or of how or why other shareholders were

   compensated, and complaints and/or concerns relating thereto. For further answer, see Plaintiff’s

   Answer to Interrogatory No. 2.

   18.    Dr. Jason Chandler, was present at many of the shareholder meetings, and he would have

   knowledge of what was discussed at said meetings. He would have knowledge of his buy-in and

   of the bonuses he received. He and Plaintiff spoke on several occasions regarding the unfair

   sharing of clinic resources and compensation. He should also have knowledge of the allegations

   contained in the Complaint, including Defendants’ policies and procedures or lack thereof,

   Defendants’ bonus structure, bonuses the shareholders were paid, the bonuses and compensation

   he was specifically paid, the details of his own buy in and/or vesting schedule, and the secretive

   nature of how bonuses were calculated and/or of how or why other shareholders were

   compensated, and complaints and/or concerns relating thereto. For further answer, see Plaintiff’s

   Answer to Interrogatory No. 2.

   19.    Dr. Arnel Pallera, was also an executive council member, who was present at many of the

   shareholder meetings, and he would have knowledge of what was discussed at said meetings. He

   would have knowledge of his buy-in and of the bonuses he received. He should also have

   knowledge of the allegations contained in the Complaint, including Defendants’ policies and

   procedures or lack thereof, Defendants’ bonus structure, bonuses the shareholders were paid, the

   bonuses and compensation he was specifically paid, the details of his own buy in and/or vesting

   schedule, and the secretive nature of how bonuses were calculated and/or of how or why other

   shareholders were compensated, and complaints and/or concerns relating thereto. For further

   answer, see Plaintiff’s Answer to Interrogatory No. 2.

   20.    Dr. David Portnoy, was present at many of the shareholder meetings, and would have

   knowledge of what was discussed at said meetings. He would have knowledge of his buy-in and

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   of the bonuses he received, and he should have knowledge of the allegations contained in the

   Complaint, including Defendants’ policies and procedures or lack thereof, Defendants’ bonus

   structure, bonuses the shareholders were paid, the bonuses and compensation he was specifically

   paid, the details of his own buy in and/or vesting schedule, and the secretive nature of how bonuses

   were calculated and/or of how or why other shareholders were compensated, and complaints

   and/or concerns relating thereto. For further answer, see Plaintiff’s Answer to Interrogatory No. 2.

   21.    Dr. Joseph Santoso, a previous shareholder and an executive council member, was present

   at many of the shareholder meetings, and he would have knowledge of what was discussed at said

   meetings. He would have knowledge of his buy-in, if any, and of the bonuses he received, and he

   would probably have knowledge of how the bonuses were calculated and the different buy-in

   arrangements that Defendants had. Dr. Santoso provided Plaintiff with the shareholder agreement

   in or about February 2019 as she did not have a copy. The Plaintiff found out from Dr. Courtney

   Shires that when Dr. Santoso left West, he was compensated for his held bonuses and shares of

   the company nearing close to $1 million. He should also have knowledge of the other allegations

   contained in the Complaint, including Defendants’ policies and procedures or lack thereof,

   Defendants’ bonus structure, bonuses the shareholders were paid, the bonuses and compensation

   he was specifically paid, the details of his own buy in and/or vesting schedule, and the secretive

   nature of how bonuses were calculated and/or of how or why other shareholders were

   compensated, and complaints and/or concerns relating thereto. For further answer, see Plaintiff’s

   Answer to Interrogatory No. 2, and see documents provided in response to the Document Requests.

   22.    Dr. Benton Wheeler, a previous senior shareholder and an executive council member, was

   present at many or all of the shareholder meetings, and he would have knowledge of what was

   discussed at said meetings, and he would probably have knowledge of how the bonuses were

   calculated and the different buy-in arrangements that Defendants had. He would have knowledge

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   of his buy-in, if any, and of the bonuses he received. He provided Plaintiff with a document in or

   about January 2020 showing the unfair wRVU distribution that Dr. Kurt Tauer and Dr. Brad Somer

   used to justify their productivity standing and thereby taking higher bonuses and clinic resources,

   suggestive of their deceit. The Plaintiff may have a copy of this document, and will provide it if

   it is located. He should also have knowledge of Plaintiff’s allegations contained in the Complaint,

   including Defendants’ policies and procedures and/or lack thereof, the various agreements signed

   by the shareholders, The West Clinic’s bonus structure as it may have existed and as it may have

   changed and whether it was uniformly applied, details on the amount of bonuses the various

   shareholders were paid, details on how the bonuses were calculated for the various shareholders

   and what was deducted therefrom, the secrecy surrounding the calculation of bonuses for the

   various shareholders, the subjective nature of the bonus calculation process, the details of any

   compensation or other monies received by the shareholders from The West Clinic and/or from the

   related entities, details on the pay scale for the various shareholders, information on what the

   various shareholders paid, if anything, in order to acquire their interests in The West Clinic and in

   the related entities, including the details of any vesting schedule and/or the details of any buy-ins

   for the various shareholders of The West Clinic, the details of payments made to shareholders who

   left The West Clinic and how same were calculated, the details of the financial dealings, expenses,

   and debts of The West Clinic and related entities, and of the representations made to Plaintiff. For

   further answer, see Plaintiff’s Answer to Interrogatory No. 2, and see documents provided in

   response to the Document Requests.

   23.    Dr. Michael Martin was present at many of the shareholder meetings, and would have

   knowledge of what was discussed at said meetings. He would have knowledge of his buy-in and

   of the bonuses he received. He shared with Plaintiff on multiple occasions throughout the years

   that the bonus model was bogus and skewed to keep the people in line to agree with any and all

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   decisions being made by Dr. Lee Schwartzberg and Dr. Kurt Tauer. He alluded to “What it means

   to be a West Clinic Doctor” as a threat to our bonuses, which is greater than the base salary. As

   the bonuses came at the end of the year, no one knew what their bonus would be and since all the

   shareholders had equal voting rights, keeping the bonuses a secret was the only control over the

   shareholders. For further answer, see documents provided in response to the Document Requests.

   24.    Dr. Manjari Pandey, a previous employee, who was promised a shareholder status after

   two years of employment. However, she was not given the opportunity to become a shareholder.

   After she left, Plaintiff spoke with her on the phone and she told Plaintiff that she was lied to about

   becoming a shareholder despite her years of building a brain cancer program because she was a

   minority.

   25.    Dr. Richard Fine, a recent shareholder who became a shareholder when The West Clinic

   required more people to put up personal guarantees to secure a loan from First Tennessee in late

   2018/early 2019. Plaintiff specifically asked whether the new shareholders would have to pay a

   buy-in as Plaintiff did, and Dr. Kurt Tauer stated that was something for discussion in the future,

   but he would unlikely contribute to any buy-in. He would have knowledge of his buy-in, if any.

   26.    Dr. Courtney Shires, an employed physician, who was approached by Todd Tillmanns

   regarding becoming a shareholder. She declined because she didn’t want to contribute to a buy-

   in of a company she felt was not financially stable.

   27.    Dr. Matthew Ballo, a shareholder, was present at many of the shareholder meetings, and

   would have knowledge of what was discussed at said meetings. He would have knowledge of his

   buy-in and of the bonuses he received. He should also have knowledge of Plaintiff’s allegations

   contained in the Complaint, including Defendants’ policies and procedures and/or lack thereof, the

   various agreements signed by the shareholders, The West Clinic’s bonus structure as it may have

   existed and as it may have changed and whether it was uniformly applied, details on the amount

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   of bonuses the various shareholders were paid, details on how the bonuses were calculated for the

   various shareholders and what was deducted therefrom, the secrecy surrounding the calculation of

   bonuses for the various shareholders, the subjective nature of the bonus calculation process, the

   details of any compensation or other monies received by the shareholders from The West Clinic

   and/or from the related entities, details on the pay scale for the various shareholders, information

   on what the various shareholders paid, if anything, in order to acquire their interests in The West

   Clinic and in the related entities, including the details of any vesting schedule and/or the details of

   any buy-ins for the various shareholders of The West Clinic, the details of payments made to

   shareholders who left The West Clinic and how same were calculated, the details of the financial

   dealings, expenses, and debts of The West Clinic and related entities, and of the representations

   made to Plaintiff. For further answer, see Plaintiff’s Answer to Interrogatory No. 2.

   28.    Dr. Scott Baum, a shareholder and an executive council member, was present at majority

   of the shareholder meetings, and would have knowledge of what was discussed at said meetings.

   He would have knowledge of his buy-in and of the bonuses he received. He should also have

   knowledge of Plaintiff’s allegations contained in the Complaint, including Defendants’ policies

   and procedures and/or lack thereof, the various agreements signed by the shareholders, The West

   Clinic’s bonus structure as it may have existed and as it may have changed and whether it was

   uniformly applied, details on the amount of bonuses the various shareholders were paid, details on

   how the bonuses were calculated for the various shareholders and what was deducted therefrom,

   the secrecy surrounding the calculation of bonuses for the various shareholders, the subjective

   nature of the bonus calculation process, the details of any compensation or other monies received

   by the shareholders from The West Clinic and/or from the related entities, details on the pay scale

   for the various shareholders, information on what the various shareholders paid, if anything, in

   order to acquire their interests in The West Clinic and in the related entities, including the details

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   of any vesting schedule and/or the details of any buy-ins for the various shareholders of The West

   Clinic, the details of payments made to shareholders who left The West Clinic and how same were

   calculated, the details of the financial dealings, expenses, and debts of The West Clinic and related

   entities, and of the representations made to Plaintiff. For further answer, see Plaintiff’s Answer to

   Interrogatory No. 2.

   29.    Dr. Michael Berry, a recent shareholder, who became a shareholder when West required

   more people to put up personal guarantees to secure a loan from First Tennessee in late 2018/early

   2019. Plaintiff specifically asked whether the new shareholders would have to pay a buy-in as she

   did, and Dr. Kurt Tauer stated that was something for discussion in the future, but he would

   unlikely contribute to any buy-in. He would have knowledge of his buy-in, if any.

   30.    Dr. David Portnoy, a shareholder, was present at many of the shareholder meetings, and

   would have knowledge of what was discussed at said meetings. He would have knowledge of his

   buy-in and of the bonuses he received. Dr. Portnoy and Plaintiff spoke about how well he was

   being compensated because “he doesn’t complain and just does what he’s told.” He should also

   have knowledge of Plaintiff’s allegations contained in the Complaint, including Defendants’

   policies and procedures and/or lack thereof, the various agreements signed by the shareholders,

   The West Clinic’s bonus structure as it may have existed and as it may have changed and whether

   it was uniformly applied, details on the amount of bonuses the various shareholders were paid,

   details on how the bonuses were calculated for the various shareholders and what was deducted

   therefrom, the secrecy surrounding the calculation of bonuses for the various shareholders, the

   subjective nature of the bonus calculation process, the details of any compensation or other monies

   received by the shareholders from The West Clinic and/or from the related entities, details on the

   pay scale for the various shareholders, information on what the various shareholders paid, if

   anything, in order to acquire their interests in The West Clinic and in the related entities, including

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   the details of any vesting schedule and/or the details of any buy-ins for the various shareholders

   of The West Clinic, the details of payments made to shareholders who left The West Clinic and

   how same were calculated, the details of the financial dealings, expenses, and debts of The West

   Clinic and related entities, and of the representations made to Plaintiff. For further answer, see

   Plaintiff’s Answer to Interrogatory No. 2.

   31.    Dr. Daniel Powell, a shareholder, was present at many of the shareholder meetings, and

   would have knowledge of what was discussed at said meetings. He would have knowledge of his

   buy-in and of the bonuses he received. He should also have knowledge of Plaintiff’s allegations

   contained in the Complaint, including Defendants’ policies and procedures and/or lack thereof, the

   various agreements signed by the shareholders, The West Clinic’s bonus structure as it may have

   existed and as it may have changed and whether it was uniformly applied, details on the amount

   of bonuses the various shareholders were paid, details on how the bonuses were calculated for the

   various shareholders and what was deducted therefrom, the secrecy surrounding the calculation of

   bonuses for the various shareholders, the subjective nature of the bonus calculation process, the

   details of any compensation or other monies received by the shareholders from The West Clinic

   and/or from the related entities, details on the pay scale for the various shareholders, information

   on what the various shareholders paid, if anything, in order to acquire their interests in The West

   Clinic and in the related entities, including the details of any vesting schedule and/or the details of

   any buy-ins for the various shareholders of The West Clinic, the details of payments made to

   shareholders who left The West Clinic and how same were calculated, the details of the financial

   dealings, expenses, and debts of The West Clinic and related entities, and of the representations

   made to Plaintiff. For further answer, see Plaintiff’s Answer to Interrogatory No. 2.

   32.    Mark Reed, a shareholder, was present at many of the shareholder meetings, and would

   have knowledge of what was discussed at said meetings. He would have knowledge of his buy-in

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   and of the bonuses he received. He should also have knowledge of Plaintiff’s allegations contained

   in the Complaint, including Defendants’ policies and procedures and/or lack thereof, the various

   agreements signed by the shareholders, The West Clinic’s bonus structure as it may have existed

   and as it may have changed and whether it was uniformly applied, details on the amount of bonuses

   the various shareholders were paid, details on how the bonuses were calculated for the various

   shareholders and what was deducted therefrom, the secrecy surrounding the calculation of bonuses

   for the various shareholders, the subjective nature of the bonus calculation process, the details of

   any compensation or other monies received by the shareholders from The West Clinic and/or from

   the related entities, details on the pay scale for the various shareholders, information on what the

   various shareholders paid, if anything, in order to acquire their interests in The West Clinic and in

   the related entities, including the details of any vesting schedule and/or the details of any buy-ins

   for the various shareholders of The West Clinic, the details of payments made to shareholders who

   left The West Clinic and how same were calculated, the details of the financial dealings, expenses,

   and debts of The West Clinic and related entities, and of the representations made to Plaintiff. For

   further answer, see Plaintiff’s Answer to Interrogatory No. 2.

   33.    Linda Smiley, a shareholder, was present at many of the shareholder meetings, and would

   have knowledge of what was discussed at said meetings. He would have knowledge of his buy-in

   and of the bonuses he received. She should also have knowledge of Plaintiff’s allegations

   contained in the Complaint, including Defendants’ policies and procedures and/or lack thereof, the

   various agreements signed by the shareholders, The West Clinic’s bonus structure as it may have

   existed and as it may have changed and whether it was uniformly applied, details on the amount

   of bonuses the various shareholders were paid, details on how the bonuses were calculated for the

   various shareholders and what was deducted therefrom, the secrecy surrounding the calculation of

   bonuses for the various shareholders, the subjective nature of the bonus calculation process, the

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   details of any compensation or other monies received by the shareholders from The West Clinic

   and/or from the related entities, details on the pay scale for the various shareholders, information

   on what the various shareholders paid, if anything, in order to acquire their interests in The West

   Clinic and in the related entities, including the details of any vesting schedule and/or the details of

   any buy-ins for the various shareholders of The West Clinic, the details of payments made to

   shareholders who left The West Clinic and how same were calculated, the details of the financial

   dealings, expenses, and debts of The West Clinic and related entities, and of the representations

   made to Plaintiff. For further answer, see Plaintiff’s Answer to Interrogatory No. 2.


           INTERROGATORY NO. 2:               Identify all persons from whom you have obtained

   statements in any form regarding the events or claims alleged in this Litigation by any person,

   whether the statement was obtained by interrogatory, interview, deposition, or otherwise. For each

   such statement, identify the date on which the statement was given, state the subject matter of the

   statement, identify any persons present when the statement was made, and identify the person(s)

   to whom the statement was made.

           ANSWER: Plaintiff objects to this Interrogatory as overly broad, and burdensome.

   Further, the phrase “obtained statements in any form” is vague, especially since over her

   employment, and over the time she was a shareholder, she had innumerable conversations with

   various people that could constitute “statements”, and she cannot possibly provide specific details

   about each. However, without waiving the objection, and in a good faith attempt to answer,

   Plaintiff states:

   1.      Erich Mounce discussed with Plaintiff in person, during her initial visit to The West Clinic

   during her employment interview in or about October 2011 that her initial employment was to be




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   for a 2-year duration followed by shareholder status at which point a buy-in would start with

   payments to be deducted from her bonuses.

   2.     In a phone discussion with Lee Schwartzberg during salary negotiations, Plaintiff inquired

   about why the starting salary was significantly below the national average for graduates, and he

   explained that this would be made up by significant increases in salary and bonuses once Plaintiff

   became a shareholder. Dr. Schwartzberg explained that the buy-in amount deducted from

   Plaintiff’s bonuses would not seem great because the bonuses are over the national average, and

   Plaintiff’s wRVUs will continue to increase over time.           See also, Plaintiff’s Answer to

   Interrogatory No. 6.

   3.     In connection with Plaintiff’s agreement to buy-in to The West Clinic, during the time

   frame of January 2015 to January 2020, on various occasions Mr. Mounce told Plaintiff that if she

   was to become a shareholder, she would become part owner of a valuable company, and she would

   receive compensation at the 95th percentile of the Hematology/Medical Oncology physicians in

   the U.S. Mr. Mounce told Plaintiff that as a shareholder, she would receive salary/bonuses that

   would be calculated in the same manner as the other shareholders, she would have equal voting

   rights with the other physician shareholders, and she would receive six weeks paid vacation,

   continuing medical education, and retirement benefits. Mr. Mounce told Plaintiff that, as part of

   the buy-in as a shareholder in The West Clinic, she would be an equal owner with the other

   shareholders in The West Clinic, and she would be an equal owner with the other shareholders in

   The West Clinic and certain other related and affiliated entities. Mr. Mounce told Plaintiff that if

   she became a shareholder, she would receive an annual salary of $510,000, and she would receive

   bonuses calculated the same as the other shareholders. Mr. Mounce told her that the cost of the

   buy-in to The West Clinic was $500,000. Mr. Mounce told her that in order to pay for the buy-in,

   money would be deducted from her bonuses on annual basis until a total of $500,000 had been

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   paid toward her buy-in. Mr. Mounce said that the amount deducted would be based on declining

   percentages until a total of $500,000 had been deducted from her bonuses; year one: 80%, year

   two: 60%, year 3: 40%, and year 4: 20%. Mr. Mounce also told Plaintiff that if she were to leave

   employment with The West Clinic, the amount she paid pursuant to the buy-would be refunded to

   her. Before she agreed to become a shareholder in The West Clinic, she requested a copy of the

   Shareholders Agreement, but Mr. Mounce told her that the contracts are a work in progress, and

   he never provided a written contract.

   4.     In approximately February of 2017, Mr. Mounce provided Plaintiff with a verbal

   explanation of how her 2016 bonus had been calculated, and she made a contemporaneous note of

   this. She provided a copy of the contemporaneous note to Mitch Graves on July 21, 2020. See

   Exhibit 9 to Complaint.

   5.     The West Clinic’s Annual Report filed on March 31, 2019, listed Plaintiff as a Vice

   President and as a member of the Board of Directors. See Exhibit 1 to Complaint.

   6.     In or around February 20, 2019, The West Clinic's new CEO, Mitch Graves requested for

   Plaintiff to sign a document that purported to terminate her “Employment Agreement” even though

   she did not sign and had not been asked to sign an “Employment Agreement”. Plaintiff complied

   with Mr. Mounce’s request, see Exhibit 2 to Complaint, because she didn’t think she had a choice.

   7.     In or about February 22, 2019, Plaintiff was requested by Lee Schwartzberg and Kurt Tauer

   to sign an employment agreement with The West Clinic, and she complied with this request. See

   Exhibit 3 to the Complaint.

   8.     On or about November 30, 2019, Plaintiff and the other shareholders of The West Clinic

   were requested by Kurt Tauer and Reid Evensky to sign Termination of Shareholders Agreements

   that referenced a January 1, 2015 Shareholders Agreement. Plaintiff complied with this request




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   even though she had not previously signed the January 1, 2015, Shareholders Agreement. See

   Termination of Shareholders Agreement attached to the Complaint as Exhibit 4.

   9.     After the agreement between The West Clinic and Methodist was terminated in or about

   January 2019, Plaintiff learned from Reid Evensky the shareholders had to buy back the assets

   from Methodist, and toward that end, she learned her bonus money would be used to buy back

   assets from Methodist.

   10.    In or around February 2019 in conversations with Dr. Sonia Benn and Dr. Gary Tian,

   Plaintiff was told that their bonuses were much higher than her bonuses and that, in fact, their

   bonuses had ranged between $700,000 and $800,000.

   11.    In about April of 2020, Plaintiff was told by Mitch Graves during a shareholder meeting

   that The West Clinic applied for a Paycheck Protection Program CARES Act loan in the amount

   of $10 million, and she was told by Mitch Graves and Reid Evensky that The West Clinic intended

   to seek forgiveness of the $10 million loan pursuant to the terms of The CARES Act.

   12.    The Plaintiff gave notice to Mitch Graves and Brad Somer of her termination of

   employment on April 24, 2020, in a letter, a copy of which is attached hereto, Bates Stamped

   FENTON000001.

   13.    In connection with the termination of the agreement with One Oncology, Plaintiff attended

   a shareholders meeting when the shareholders were told by Mitch Graves and Kurt Tauer that they

   needed to sign an Unanimous Written Consent Agreement, dated July 10, 2020, a copy of which

   is attached to the Complaint as Exhibit 6.

   14.    The Unanimous Written Consent agreement referenced a Side Letter affecting The West

   Clinic’s application for and receipt of loan proceeds available under The CARES Act, and Plaintiff

   and several other physicians, including Michael Martin, Sylvia Richey, and Gary Tian raised

   concerns that The CARES Act Loan proceeds were not being used for proper purposes but were

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   being used to buy back the assets from One Oncology, because it was their understanding that One

   Oncology was being paid approximately $10 million. The Plaintiff told Michael Martin she was

   not going to sign the Unanimous Consent Agreement.

   15.    Prior to the termination of her employment, Mitch Graves, Brad Somer, Sylvia Richey,

   Michael Martin, and Sonia Benn attempted to talk Plaintiff out of terminating her employment,

   and she was told by Reid Evensky she should wait at least six months before she left, because by

   that date, the value of her interest in the Defendants would be worth significantly more as a result

   of the forgiveness of the $10 million CARES Act loan.

   16.    After Plaintiff gave 90 days’ notice of her termination, she asked Mr. Graves about the

   bonus money she was owed and also about the buy out for her ownership and he told Plaintiff there

   was no buyout. See Exhibit 10 to the Complaint.

   17.    After Plaintiff gave 90 days’ notice of her termination, she engaged in some discussions

   with Reid Evensky, Brad Somer, and Mitch Graves. Mr. Graves informed Plaintiff there was no

   buyout in the agreement. See Exhibit 10 to the Complaint. Reid Evensky told Plaintiff The West

   Clinic had no money to pay a buy out because it had just had to buy its way out of One Oncology.

   Evensky told Plaintiff once the company has secured forgiveness of The Cares Act loan, the

   company would then go back to owning all assets and would be a profitable company, and that

   would take about 6 months after Plaintiff’s resignation. Evensky told Plaintiff her timing was

   “very unfortunate” but he told Plaintiff he felt that Plaintiff deserved “something”, and that he

   would bring it up to the Executive committee as these things are not “appropriate” for shareholder

   meeting discussions.

   18.    Mr. Evensky provided Plaintiff with two different Termination, Purchase And Release

   Agreement(s). See Bates Stamp FENTON000074 – FENTON000093.




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   19.     In July 25, 2020, in an email exchange with Mitch Graves, Plaintiff asked him why some

   of the other shareholders had received much higher bonuses than her, and he did not answer her

   question. See Exhibit 10 to the Complaint.

   20.     After Plaintiff’s notice of termination, she and/or her counsel exchanged some

   emails/correspondence with Reid Evensky.             See Bates Stamped FENTON000009 –

   FENTON000011, FENTON000019, FENTON000220 – FENTON000243.

   21.     Dr. Benton Wheeler and Plaintiff had a phone conversation after his departure in or about

   May 2020, and he informed Plaintiff that The West Clinic shareholders received substantial

   monies when The West Clinic sold assets to Methodist.

   22.     Dr. Sonia Benn and Plaintiff had a discussion after Plaintiff left her employment, that she

   believed the Plaintiff was owed the buy-in monies and that she wished West leadership would be

   fair with Plaintiff.

   23.     Dr. Eric Wiedower and Plaintiff had discussions in or about October 2018, November

   2019, and February 2020 that he, too, was in the same situation with his buy-in, and he has not

   been getting his full bonuses per his RVUs.

   24.     In shareholder meetings, there were discussions about whether new stakeholders, Dr.

   Richard Fine, Dr. Michael Berry, and Dr. Matt Ballo would also have a buy-in or not and these

   three were invited to become shareholders because their personal guarantees would boost The

   West Clinic’s borrowing power from the banks.

   25.     Dr. Brad Somer discussed in shareholder meetings how he felt bad about the three young

   shareholders (Plaintiff, Dr. Eric Wiedower, and Dr. Greg Vidal) who contributed to buy-in, but

   the business was no longer successful to maintain the bonuses shared previously.

   26.     Dr. Todd Tillmanns discussed at a shareholder meeting that bringing in additional

   shareholders for their contributions to buy-in would be helpful when the organization needed

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   money when considering separating from One Oncology. According to Dr. Courtney Shires, she

   was approached by Dr. Todd Tillmanns to become a shareholder, but she declined knowing she

   would have to pay in to a company that was financially unstable at the time.

   27.    Dr. Kurt Tauer made numerous comments during multiple shareholder meetings stating

   that the shareholders make more money because they paid into it and have “skin in the game.” He

   and Plaintiff also discussed a need for a contract to discuss how to distribute company shares at

   the time of resignation or retirement as the shareholders are all supposed to be equal owners of the

   company. However, Dr. Kurt Tauer and Brad Somer argued that some of the shareholders have

   been at the company longer than others and that should account for more contribution and more

   pay-out.

   28.    Dr. Michael Martin and Plaintiff had multiple conversations regarding the calculations of

   bonuses being subjective to Dr. Kurt Tauer, Dr. Lee Schwartzberg, and Erich Mounce. He related

   he had similar experiences as Plaintiff with Erich Mounce, when he asked Mounce to explain the

   bonus structure or calculation; he would bully his answers and frankly intimidate or yell at him.

   He also felt strongly that if the shareholders kept pressing for details and explanations, the ones

   doing it would be considered “bad citizens” of the clinic and their bonuses would be further

   unfairly calculated. Dr. Martin also felt that this is a method to keep everyone in line, to ensure

   that no one really knew how the bonuses are calculated or distributed.

   29.    Dr. Benton Wheeler left an envelope on Plaintiff’s desk which stated “for your eyes only”

   and the contents thereof accused Dr. Kurt Tauer of improperly charging wRVUs under his name

   for other APP and physician work to inflate his bonuses. The Plaintiff will try to locate the

   document and will provide it when located.

   30.    For further Answer, see emails, text messages, and documents provided herewith. See also

   emails provided by Defendants, Bates Stamped West 182-195 and 229-232.

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          INTERROGATORY NO. 3:              Please describe in detail any conversations or

   communications that Plaintiff had with Defendants which support, negate, or relate to the

   allegations or matters relevant to this Litigation. As to each conversation or communication

   identified, provide a detailed summary of the substance of each communication or conversation,

   identify all persons who were present when the conversation or communication took place, and

   identify all documents or communications evidencing or relating thereto.

          ANSWER: Objection. This question is overly broad and burdensome. However, without

   waiving the objection, and in a good faith attempt to answer, see Plaintiff’s Answers to

   Interrogatories Nos. 1, 2, 5, 6, 8, and 13. See also, Exhibits to Complaint, documents provided

   herewith, and see documents provided by Defendants or requested to be provided by Defendants

   in discovery.


          INTERROGATORY NO. 4:              Please describe in detail any communications or

   conversations Plaintiff had with any other person other than the Defendants which support, negate,

   or relate to the allegations or matters relevant to this Litigation. As to each conversation or

   communication identified, provide a detailed summary of the substance of each communication or

   conversation, identify all persons who were present when the conversation or communication took

   place, and identify all documents or communications evidencing or relating thereto.

          ANSWER: Objection. This question is overly broad and burdensome. However, without

   waiving the objection, and in a good faith attempt to answer, see Plaintiff’s Answers to

   Interrogatories Nos. 2, 3, 5, 6, 7, 8, 13, and 14. See also, documents provided in Plaintiff’s

   Responses to Defendants’ Document Requests.


          INTERROGATORY NO. 5:              Identify all documents that support, negate, or otherwise

   relate to your contention that you had a contract under which you “bought in” to the West Clinic


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   at a maximum amount of $500,000 and that such “buy-in” would be refunded to you upon your

   termination of employment, as alleged in paragraphs 25 through 27 and 47 of the Complaint.

          ANSWER: This was a verbal contract. Numerous documents establish that there was a

   contract to buy-in to The West Clinic and related entities. For further answer, see Exhibits to

   Complaint, documents provided herewith, and see documents provided by Defendants or requested

   to be provided by Defendants in discovery, including Bates Stamped West 182-195 and 229-232.


          INTERROGATORY NO. 6:               Please describe in detail all facts or information on which

   you base your allegation that Defendants promised or represented to you that you would have a

   “buy-in” to the West Clinic of a maximum amount of $500,000 and that such “buy-in” would be

   refunded to you upon your termination of employment, as alleged in paragraphs 25 through 27 and

   47 of the Complaint.

          ANSWER:         Objection. This Interrogatory is overly broad and burdensome. However,

   without waiving the objection and in a good faith attempt to answer, see promises and

   representations made by CEO as set forth in Plaintiff’s Answer to Interrogatory No. 2, and see

   Plaintiff’s Answers to Interrogatories Nos. 3, 5, and 6.

          After her initial visit to The West Clinic in or around October of 2011, Plaintiff spoke with

   Lee Schwartzberg to negotiate a starting salary. He asked what Erich Mounce told her – that he

   was curious, and Plaintiff told him what he told her. Dr. Schwartzberg corroborated the statements

   made by Mounce and later sent Plaintiff an email. See Bates Stamped FENTON000008.



          INTERROGATORY NO. 7:               Please describe in detail the factual and legal basis for

   your contention that you entered into an oral, binding contract to “buy-in” to the West Clinic, as

   set forth in paragraphs 47 through 50 of the Complaint.



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          ANSWER:         Objection. This Interrogatory is overly broad and burdensome. However,

   without waiving the objection and in a good faith attempt to answer, see Plaintiff’s Answers to

   Interrogatories Nos. 2, 3, 5, 6, 8, 13 and 14. Plaintiff relied to her detriment on the promises and

   representations of CEO Mounce, and she fully performed her side of the contract up to the date of

   her termination.


          INTERROGATORY NO. 8:               Please describe in detail all facts or information on which

   you base your contention that Defendants improperly calculated your bonuses.

          ANSWER:         Objection. This Interrogatory is overly broad and burdensome. However,

   without waiving the objection and in a good faith attempt to answer, Plaintiff states she knew that

   her work RVUs were at least average to other shareholders, and many years above average or one

   of the top wRVUs. Despite that, Plaintiff was not given equal productivity bonuses compared to

   other shareholders, even with her participation in quality measure, development of head and neck

   cancer program (which became the 5th leading cancer diagnosis seen at West Clinic), active

   research role as a principal investigator, and teaching trainees and participating services at

   Methodist hospital. Further, the bonus calculation was very secretive, and Plaintiff does not know

   how Defendants came up with the numbers on the bonuses.

          In 2017, the Plaintiff asked Erich Mounce to explain to her the 2016 bonus calculation. He

   outlined the following:       $150,268 (education), $301,265 (Quality Metrics), $805,710

   (productivity) added up to $1,257,243. Plaintiff was paid base salary of $510,000 leaving

   $747,243 for her bonus. However, she was only given a $298,897 bonus that year. When asked,

   he said it would go to Plaintiff’s buy-in, so that year alone, Plaintiff contributed $448,346 to her

   buy-in when no more than $500,000 was to be deducted. (See Exhs. 9 and 10 to Complaint). For




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   further answer, see Plaintiff’s Answers to Interrogatories Nos. 2, 13, and 14, and documents

   referred to therein.


           INTERROGATORY NO. 9:                 Please describe in detail all facts or information on

   which you base your contention that there were deductions from your bonuses that were applied

   to your “buy-in” to the West Clinic.

           ANSWER:         Objection. This Interrogatory is overly broad and burdensome. However,

   without waiving the objection and in a good faith attempt to answer, see Plaintiff’s Answers to

   Interrogatories Nos. 2, 5, 6, 7, 8, 10, and 13. See also, Exh. 9 to Complaint and see emails Bates

   Stamped West 182-195 and 229-232. See also, Defendants’ Response to Plaintiff’s Requests for

   Admissions.


           INTERROGATORY NO. 10: Please describe in detail all facts or information on which

   you base your contention that that you are owed money for your ownership interests in Defendants

   upon your voluntary termination of employment.

           ANSWER: Objection. This Interrogatory is overly broad and burdensome. However,

   without waiving the objection and in a good faith attempt to answer, Plaintiff states that upon her

   termination, based on Plaintiff’s buy in, she was to receive the $500,000 that was supposed to have

   been deducted from her bonuses for the buy-in, but it turns out much more than $500,000 was

   deducted from her bonuses. Additionally, she signed certain documents that provided she would

   be paid for her ownership interests. For further answer, see Plaintiff’s Answers to Interrogatories

   Nos. 2, 3, 5, 6, 7, 8, 13, and 14.


           INTERROGATORY NO. 11: Please describe in detail each and every material

   misrepresentation of fact that you allege was made by any of the Defendants related to the matters



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   in this Litigation. For each alleged misrepresentation, provide a description of the substance of the

   alleged misrepresentation; state the date it was made; identify the person who made it; state the

   manner in which it was made, i.e., the type of communication; state the place at which it was made;

   identify all documents or communications evidencing or relating to the misrepresentation; and

   identify any other persons who were present or witnessed the alleged misrepresentation.

          ANSWER:         Objection. This Interrogatory is overly broad and burdensome. However,

   without waiving the objection and in a good faith attempt to answer, see Plaintiff’s Answers to

   Interrogatories Nos. 2 and 6, with respect to her conversations with CEO Mounce and Dr.

   Schwartzberg. The Plaintiff is not aware of any witnesses to these conversations. For further

   answer, see Plaintiff’s Answers to Interrogatories Nos. 2, 3, 5, 6, 8, 13, and 14.


          INTERROGATORY NO. 12: Please describe in detail how you discovered information

   about the West Clinic’s assets, as alleged in paragraphs 63 through 65 of the Complaint. Your

   response should include, but not be limited to, the exact date(s) you made such discoveries, who

   provided the information to you, any other persons who were present, and the details of the

   information you allege you discovered.

          ANSWER:         Objection. This Interrogatory is overly broad and burdensome. However,

   without waiving the objection and in a good faith attempt to answer, Plaintiff heard this mentioned

   during a shareholder meeting in or around November or December 2018, but she learned more

   after she was requested to sign, and did sign, a personal guarantee. Plaintiff later spoke with other

   people, such as Dr. Joseph Santoso, Dr. Gary Tian, and Dr. Benton Wheeler, who informed her

   that when the transaction occurred, they had received monies as a result of the asset sale to

   Methodist.




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           INTERROGATORY NO. 13: Please describe in detail the amounts you allege were

   deducted from your bonuses towards a “buy-in” and identify all documents you used, created, or

   maintained to keep records of such deductions.

           ANSWER:           Objection.      This information is in the possession of Defendants, and

   Plaintiff has not been provided documents necessary to calculate the amounts deducted, and she

   reserves the right to modify these calculations once additional documents are obtained, but in a

   good faith attempt to answer, Plaintiff states using documents provided by Defendants to date, it

   appears the following was retained by Defendants from Plaintiff’s bonuses, to-wit:

                       Buy-In Calculation Using documents provided by Defendants1

           Total Bonus                Total Bonus to be Paid to Fenton                      Total Bonus Retained

   2015: $489,563.63                  $77,912.72 (Paid: $30,632.17)2                        $458,931.46

   2016: $747,243.91                  $298,897.56                                           $448,346.35

   2017: $654,739.08                  $392,843.44                                           $261,895.64

   2018: ???????????3                 $40,000.00                                            $400,000.00?? 4

   2019: ???????????                  $401,994.11                                           ?????????_____


                                                        Total Bonus Retained:               $1,569,173.45




   1
     West 229, 230, 231, and 232.
   2
     Based on discrepancy in 2015 of $47,280.55. $489,563.63 - $77,912.72=$411,650.91 + $47,280.55 = $458,931.46.
   (West 229; 232).
   3
     It appears Defendant failed to provide bonus information for 2018 and 2019.
   4
     Deducted for building purchase. Plaintiff does not have documents showing the amount deducted on wRVU (which
   may be higher), but this was her calculation based on her estimate of what Plaintiff was told the money would be used
   for. For further answer, see Plaintiff’s Answer to Interrogatory No. 14.



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          INTERROGATORY NO. 14: Please describe in detail the basis for your contention

   that Defendants appropriated approximately $400,000 from your 2018 bonus to buy back assets

   from Methodist, as alleged in paragraphs 67 and 150 of the Complaint.

          ANSWER:        Plaintiff was not provided with details of exactly how much money was

   deducted from her bonus check for 2018. However, Plaintiff believes her wRVU in 2018 was

   approximately 9,027, but this number should be in possession of Defendant, and has been

   requested by Plaintiff in discovery. The Plaintiff does not know the exact calculation of the

   Methodist wRVU compensation at the time (she was not provided with documents regarding the

   partnership agreement with Methodist). The Plaintiff heard values ranging from $130 to $135 per

   wRVU. This would mean that The West Clinic would have been paid approximately $1,218,645

   for Plaintiff’s 2018 wRVUs. However, West was ending the Methodist contract and was required

   to buy the Wolf River building. Plaintiff estimated that at least $400,000 or more from her bonuses

   were used in 2018 as she earned $550,000 that year.


          INTERROGATORY NO. 15: Please identify the date upon which you became aware

   that Defendants had deducted more than $500,000 from your bonuses, as alleged throughout the

   Complaint.

          ANSWER: Plaintiff did not learn this until June of 2022 when she received documents

   from the Defendants. For further answer, see Plaintiff’s Answer to Interrogatory No. 13.


          INTERROGATORY NO. 16: Please describe in detail the reason(s) you voluntarily

   terminated your employment with the West Clinic.

          ANSWER: The Plaintiff had become increasing disenchanted with The West Clinic’s

   leadership, the secrecy and intimidation regarding the bonuses, and its culture. She was offered a




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   co-lead in Head and Neck Cancer program at University of Pittsburgh Medical Center, which is

   an NCI-designated cancer center, nationally top-ranked, and she decided to accept the opportunity.


          INTERROGATORY NO. 17: Please describe in detail your notice of voluntary

   termination from the West Clinic, including but not limited to the date on which you provided a

   notice, the manner in which you provided a notice, to whom you provided notice, and any other

   persons who were present or witnessed you providing notice of your voluntary termination.

          ANSWER:         The Plaintiff gave notice on 4/24/20 in writing and provided the notice to

   Dr. Brad Somer and Mitch Graves. See Bates Stamped FENTON000001.


          INTERROGATORY NO. 18: Please provide a detailed itemization of all damages and

   other amounts for which you seek recovery in this Litigation and identify all documents evidencing

   or relating to these claimed damages.

          ANSWER:         Objection. The Plaintiff has not received all the documents she requested

   that Defendants produce in discovery necessary to do a projection, and she reserves the right to

   revise this upon receipt of such documents. Plaintiff is claiming economic and punitive damages

   including but not limited to: (1) The Amount deducted from her calculated bonuses in excess of

   $500,000; (2) The amount that should have been paid to Plaintiff upon termination of her

   employment: $500,000.00 plus bonuses that were retained over and above this amount; (3) The

   value of her ownership interest in the Defendants in an amount to be set by the jury; (4) The amount

   that should have been paid to her as a member, partner, and/or shareholder in the Defendants since

   her termination in an amount to be set by the jury; (5) If rescission is found to be the appropriate

   remedy, the return of all monies withheld from Plaintiff’s bonuses; and (6) The amount of bonuses

   paid to other shareholders over and above what was paid to Plaintiff to the extent her bonuses were

   calculated differently. The Plaintiff is also asking for an accounting, for a constructive trust and/or


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   resulting trust to be imposed on the assets of the Defendants, and for an appraiser to be appointed

   to determine the value of the various entities. Plaintiff is claiming attorney’s fees, costs, and

   litigation expenses, and prejudgment interest, in such amounts as allowed by the judge. For further

   answer, see Plaintiff’s Answers to Interrogatories Nos. 13 and 14.


          INTERROGATORY NO. 19: To the extent not already identified, please identify all

   documents or tangible items upon which you rely in support of your allegations in the Litigation.

          ANSWER:        Objection.    Discovery is ongoing and Plaintiff has not received all

   documents she requested from Defendants. Plaintiff reserves the right to revise this answer, and

   also, will be making a pretrial exhibit filing to which reference is hereby made. In a good faith

   attempt to answer, see Exhibits to Complaint, see documents provided herewith, see Defendants’

   Answers to Interrogatories and Document Requests and documents provided therewith (or

   requested by Plaintiff and not yet provided). See also, Defendants’ Response to Plaintiff’s

   Requests for Admissions.


          INTERROGATORY NO. 20: If your response to any of the First Requests for

   Admission is anything other than an unqualified admission, please provide the following

   information for each response:

          a. All facts that you contend support any responses constituting your denial, refusal to

              admit, or qualified admission;

          b. Identify any documents that support any responses constituting your denial, refusal to

              admit, or qualified admission; and




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          c. Identify any persons who purportedly possess knowledge of facts or information

              supporting any responses constituting your denial, refusal to admit, or qualified

              admission.


          ANSWER:          Please see Plaintiff’s Responses to Requests for Admissions.

          RESPECTFULLY SUBMITTED this the 24th day of June, 2022.

                                                 THE BURKHALTER LAW FIRM, P.C.



                                                 s/David A. Burkhalter, II
                                                 David A. Burkhalter, II, BPR #004771
                                                 D. Alexander Burkhalter, III, BPR #033642
                                                 Zachary J. Burkhalter, BPR #035956
                                                 Attorneys for Plaintiffs
                                                 P.O. Box 2777
                                                 Knoxville, Tennessee 37901
                                                 (865) 524-4974




                                    CERTIFICATE OF SERVICE

          I hereby certify that a true and exact copy of the foregoing document was served upon

   counsel of record via Email, this the 24th day of June, 2022.

                                                        s/David A. Burkhalter, II
                                                        David A. Burkhalter, II




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                          Exhibit D
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                        WEST CLINIC SHAREHOLDERS MEETING

                                       August 22nd, 2018

                                        Meeting Minutes



I.         CALL TO ORDER:         The meeting was called to order by Dr. Kurt Tauer at 6:20 p.m.

       Shareholders Present:      Drs. Tauer, Tian, Richey, Benn, Fenton, Smiley,
       Schwartzberg (via phone), Vidal, Somer, Tillmanns, Chandler, Powell, Pallera, Wheeler,
       Portnoy, J. Reed and Besh.

       Shareholders not present:      Drs. Mark Reed, Mike Martin, Scott Baum

       Management Present:            Erich Mounce, Reid Evensky and Ron Davis



     II. REVIEW OF MINUTES:

             The shareholders were presented with the minutes from the previous meeting held on
             June 26th, which they reviewed. Upon review, the group had no corrections. Dr.
             Arnel Pallera put forth a motion for approval and the motion was subsequently
             seconded by Dr. Richey, the motion was then unanimously approved by the
             shareholders.



     III. REVIEW OF FINANCIALS:

             A. None Presented



     IV. OLD BUSINESS:

                A. Updates / Minutes on Committees

                       a. PSA Operating Committee: No Minutes Attached

                           No PSA meetings have been held since the last shareholders meeting


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                 b. Cancer Center Council: No Minutes Attached

                    No Cancer Council meetings have been held since the last
                    shareholders meeting

                 c. HOTP Minutes : Education / Fellows: Minutes Attached

                    Erich Mounce provided the shareholders with copies of the past
                    several months of HOTP meeting minutes for their review.


                 d. Clinical Practice Committee: Minutes Attached

                    Erich Mounce provided the shareholders with copies of the past
                    several months of CPQ subcommittee meeting minutes for their
                    review.

                 e. Executive Committee Report: Minutes Attached

                    Erich Mounce provided the shareholders with copies of the past
                    several months of Executive Committee meeting minutes for their
                    review.


           B. Updates in Old Business:

                 a. Methodist Unwind Update:

                    Dr. Tauer and Erich Mounce provided the shareholders with an update
                    on the unwind negotiations with MLH. Following the first two formal
                    unwind meetings the following has been communicated to West; 1)
                    MLH is not interested in a radiation oncology joint venture; 2) They
                    are requesting to focus on strictly following the unwind agreement; 3)
                    West will acquire the Germantown linear accelerators; 4) West will
                    acquire the Germantown Cancer Center building; 5) The MRPC breast
                    center will leave the Germantown building; 6)West will acquire back
                    all of its radiology and infusion departments; 7) MLH is not interested
                    in West leasing the cancer center space built out in the new downtown
                    tower; 8) West will be reassigned the leases for Midtown, Desoto and
                    Brighton sites, finally ; 9) Both sides are still unclear on the stem cell
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                         transplant program, but both sides would like to try and keep the
                         program growing with minimal disruption.

                         Initial CONs have been filed for the linear accelerators and the PET
                         Scanners. We will be filing a CON for the ASTC in the very near
                         future. The ASTC will require specific construction reconfiguration
                         within our radiology department.

                     b. University Proposal:

                         Erich Mounce reviewed for the shareholders the proposal provided to
                         UTHSC by West last week. The proposal that was provided is
                         attached as exhibit “A” to these minutes. Alter discussion the
                         shareholders agreed with the proposal. The executive committee will
                         continue to work with UTHSC in order to try and complete a deal that
                         is beneficial to both West and UTHSC for the continuation of research
                         and education.




   V. NEW BUISNESS


             A. Tenet / St. Francis:

                  Erich provided the shareholders with an update on the discussions with St.
                  Francis / Tenet on developing a breast center on both the Park and Bartlett
                  campuses in a joint venture model. Currently we are in informal discussion
                  sand formal business structure or business terms have been proposed. Dr.
                  Berry is involved in the discussions. The Executive Committee will continue
                  to monitor these discussions.




   VI. GENERAL DISCUSSION

           None




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        VII.    ADJOURNMENT:

                THERE BEING NO FURTHER DISCUSSION THE MEETING WAS
                ADJOURNED AT 8:20 PM.




     These minutes are respectfully submitted for review and comment by:




     _______________
     Erich Mounce




     These minutes are accepted by:


     ___________________
     Kurt W. Tauer, M.D.
     Secretary/Shareholder




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                           Exhibit E
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                              FENTON, M.D.
                                       vs
                     WEST CLINIC, PLLC, et al.




                            REID EVENSKY
                            November 08, 2022
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 ·1·   · · · · IN THE UNITED STATES DISTRICT COURT
 · ·   · · · · · · WESTERN DISTRICT OF TENNESSEE
 ·2·   · · · · · · · FOR THE WESTERN DIVISION
 · ·   __________________________________________________
 ·3
 · ·   MOON FENTON, M.D.,
 ·4
 · ·   · · · · · · · · ·Plaintiff,
 ·5
 · ·   vs.· · · · · · · · · · · No. 2:21-cv-02790
 ·6·   · · · · · · · · · · · · ·Judge: Lipman/Pham
 · ·   · · · · · · · · · · · · ·JURY DEMAND
 ·7
 · ·   THE WEST CLINIC, PLLC, f/k/a THE
 ·8·   WEST CLINIC, PC, d/b/a
 · ·   WEST CANCER CENTER,
 ·9·   WEST LEASECO, LLC,
 · ·   WEST PARTNERS, LLC,
 10·   WEST UNION PARTNERS, LLC,
 · ·   WEST WOLF RIVER PARTNERS, L.P., f/k/a
 11·   WEST WOLF RIVER PARTNERS, LLC,
 · ·   WEST CAPITAL, LLC,
 12·   WEST CLINIC HOLDCO, PC, and
 · ·   WEST EQUITY, LLC,
 13
 · ·   · · · · · · · · ·Defendants.
 14·   __________________________________________________

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 16· · · · · · Video/Videoconference Deposition of:

 17· · · · · · REID EVENSKY

 18· · · · · · Taken on behalf of the Plaintiff
 · · · · · · · November 8, 2022
 19
 · · · · · · · Commencing at 1:35 p.m.
 20

 21
 · ·   ___________________________________________________
 22
 · ·   ·   ·   ·   ·   ·   Elite-Brentwood Reporting Services
 23·   ·   ·   ·   ·   ·   ·www.elitereportingservices.com
 · ·   ·   ·   ·   ·   ·   ·MELISSA M. SMITH, RPR, LCR, CCR
 24·   ·   ·   ·   ·   ·   · ·Senior Managing Associate
 · ·   ·   ·   ·   ·   ·   · · ·Chattanooga, Tennessee
 25·   ·   ·   ·   ·   ·   · · · · · (423)266-2332



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·5· For the Plaintiff:

·6·   ·   ·   ·   ·   ·   MR. DAVID A. BURKHALTER, II
· ·   ·   ·   ·   ·   ·   Attorney at Law
·7·   ·   ·   ·   ·   ·   The Burkhalter Law Firm, PC
· ·   ·   ·   ·   ·   ·   111 South Central Street
·8·   ·   ·   ·   ·   ·   Knoxville, TN 37901
· ·   ·   ·   ·   ·   ·   (865) 524-4974
·9·   ·   ·   ·   ·   ·   david@burkhalterlaw.com

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12· For the Defendants:

13·   ·   ·   ·   ·   ·   MR. MICHAEL G. McLAREN
· ·   ·   ·   ·   ·   ·   MS. AMY WORRELL STERLING
14·   ·   ·   ·   ·   ·   Attorneys at Law
· ·   ·   ·   ·   ·   ·   Black McLaren Jones Ryland & Griffee, PC
15·   ·   ·   ·   ·   ·   530 Oak Court Drive
· ·   ·   ·   ·   ·   ·   Suite 260
16·   ·   ·   ·   ·   ·   Memphis, TN 38117
· ·   ·   ·   ·   ·   ·   (901) 730-4043
17·   ·   ·   ·   ·   ·   mmclaren@blackmclaw.com
· ·   ·   ·   ·   ·   ·   asterling@blackmclaw.com
18

19

20
· · Also present:
21
· · · · · · · MS. AUGUSTA SMITH - Videographer
22· · · · · · DR. MOON FENTON

23

24

25



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                        www.EliteReportingServices.com
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·4·   Examination
· ·   By Mr. Burkhalter· · · · · · · · · · · · · · ·6
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· ·   Examination
·6·   By Mr. McLaren· · · · · · · · · · · · · · · ·47

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10
· ·   Exhibit No. 1· · · · · · · · · · · · · · · · ·8
11·   · · ·Schedule A to Rule 30(b)(6) Notice
· ·   · · ·(Docs. 16-18)
12
· ·   Exhibit No. 2· · · · · · · · · · · · · · · · 25
13·   · · ·2015 Shareholders Agreement
· ·   · · ·(Docs. 551-589)
14·   · · ·Bates No. Confidential West000255 –
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· ·   Exhibit No. 3· · · · · · · · · · · · · · · · 33
16·   · · ·Shareholder Employment Agreement
· ·   · · ·(Docs. 827-840)
17·   · · ·Bates No. Confidential West012458 –
· ·   · · ·12471
18
· ·   Exhibit No. 4· · · · · · · · · · · · · · · · 38
19·   · · ·Termination of Employment Agreement
· ·   · · ·signed by Fenton (Doc. 330)
20·   · · ·Bates No. Confidential West000816

21·   Exhibit No. 5· · · · · · · · · · · · · · · · 42
· ·   · · ·Termination of Shareholder's Agreement
22·   · · ·11-30-19 (Docs. 328-329)
· ·   · · ·Bates No. Fenton000003 – 4
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· · · · · · ·S· T· I· P· U· L· A· T· I· O· N                  S
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·5· · · · · · The videoconference deposition of REID

·6· EVENSKY was taken by counsel for the Plaintiff, by

·7· Notice, with all participants appearing at their

·8· respective locations, on November 8, 2022, for all

·9· purposes under the Federal Rules of Civil

10· Procedure.

11· · · · · · All objections, except as to the form of

12· the question, are reserved to the hearing, and said

13· deposition may be read and used in evidence in said

14· cause of action in any trial thereon or any

15· proceeding herein.

16· · · · · · It is agreed that MELISSA M. SMITH, RPR,

17· Notary Public and Licensed Court Reporter for the

18· State of Tennessee, may swear the witness remotely,

19· and that the reading and signing of the completed

20· deposition by the witness is not waived.

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·1· Q.· · ·And she was not paid anything for her

·2· membership in West Capital?

·3· A.· · ·That's correct.

·4· Q.· · ·And, of course, the West Clinic, PLLC,

·5· Dr. Fenton was a member of that PLLC, correct?

·6· A.· · ·That's correct.

·7· Q.· · ·Is she still -- she still a member?

·8· A.· · ·I do not think she is a member.

·9· Q.· · ·And why is that?

10· A.· · ·At her termination and resignation,

11· I think the operating agreement dictates what

12· happens to her ownership interest.

13· Q.· · ·And are you familiar with that operating

14· agreement?

15· A.· · ·I am.

16· Q.· · ·And does that require the West Clinic,

17· PLLC, to do anything in connection with her

18· ownership interest?

19· A.· · ·I need some help understanding that

20· question.

21· Q.· · ·Fair taken.· Fair point.

22· · · · ·The operating agreement with respect to

23· Dr. Fenton's membership in that organization upon

24· resignation, does that operating agreement

25· specify what the West Clinic is supposed to do



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·1· with respect to determining a value?

·2· A.· · ·With respect to determining a value, it is

·3· to engage regularly employed accountants to

·4· determine whether or not any value exists.

·5· Q.· · ·And the conclusion was it was of zero

·6· value.· Is that fair?

·7· A.· · ·That's correct.

·8· Q.· · ·But it's still in existence?

·9· A.· · ·It is still in existence.

10· Q.· · ·And are you familiar with the financial

11· statement of West -- The West Clinic?

12· A.· · ·I'll need some help in understanding.

13· When you say "financial statements," something

14· current?· Is there something in particular?

15· General -- help me understand the question,

16· please.

17· Q.· · ·Okay.· I'll withdraw that question.

18· A.· · ·And I'm not -- I'm not trying to be

19· argumentative, David.· I'm just trying to

20· understand what you're asking.

21· Q.· · ·No I understand.· I understand.

22· · · · ·West Clinic Holdco, PC, was Dr. Fenton a

23· shareholder in that?

24· A.· · ·She was.

25· Q.· · ·Is she still a shareholder?



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·1· A.· · ·I do not think she is.

·2· Q.· · ·And what -- is that -- is that PC still in

·3· existence?

·4· A.· · ·It is.

·5· Q.· · ·And does it have any value?

·6· A.· · ·It does not.

·7· Q.· · ·And what is its function?

·8· A.· · ·It holds equity interests that come

·9· through the earlier LLCs and LPs that you were

10· describing.· All of these entities have tax

11· functions.· Those tax functions inure to the

12· benefits of each of these members you're asking

13· about.

14· Q.· · ·And why it is that she is no longer a

15· shareholder in West Holdco?

16· A.· · ·I think there is a shareholder agreement

17· that dictates what happens to her equity upon her

18· termination or resignation.

19· Q.· · ·Have we talked about West Equity, LLC?

20· I don't think so.

21· · · · ·What is West Equity, LLC?

22· A.· · ·West Equity was an entity that -- well,

23· you asked about West Equity, West Equity, LLC?

24· Q.· · ·Yes, sir.

25· A.· · ·Okay.· West Equity, LLC, was an entity



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